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   7
   8                           UNITED STATES DISTRICT COURT
   9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  10
       MANAN BHATT and MARY                      Case No. 16-3171
  11   BLASCO, on behalf of themselves
       and all others similarly situated,        AMENDED CLASS ACTION
  12                                             COMPLAINT1
                         Plaintiffs,
  13                                             for:
       v.
  14                                             (1)  Violations of California
       MERCEDES-BENZ USA, LLC and                     Consumer Legal Remedies Act
  15                                             (2) Violations of California Unfair
       DAIMLER AG;                                    Competition Law
  16                                             (3) Breach of Express Warranty
       Defendants.                                    Pursuant to Song-Beverly
  17                                                  Consumer Warranty Act
                                                 (4) Breach of Express Warranty
  18                                             (5) Breach of Express Warranty –
                                                      Magnuson-Moss Warranty Act
  19                                             (6) Breach of Implied Warranty
                                                      Pursuant to Song-Beverly
  20                                                  Consumer Warranty Act
                                                 (7) Breach of Implied Warranty
  21                                             (8) Breach of Implied Warranty –
                                                      Magnuson-Moss Warranty Act
  22                                             (9) Fraud by Concealment
                                                 (10) Unjust Enrichment
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  24                                             JURY TRIAL DEMANDED
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         This amended complaint is filed pursuant to the parties’ Stipulation Extending
  28   Time to Respond to Complaint [Dkt. 43] and the Court’s order granting that
       stipulation [Dkt. 44].
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   1                                   1.INTRODUCTION
   2                1.     Plaintiffs Manan Bhatt and Mary Blasco bring this action for
   3   themselves and on behalf of all persons who purchased or leased in California
   4   certain vehicles equipped with uniform and uniformly defective HVAC Systems
   5   designed, manufactured, distributed, and sold/leased by Mercedes-Benz USA, LLC;
   6   Daimler AG; and/or their related subsidiaries or affiliates (“Mercedes”); as further
   7   described below (“Class Members”).
   8                2.     The vehicles at issue in this action include the 2004-2012
   9   Mercedes A-Class, 2001-2017 Mercedes C-Class, 2000-2014 Mercedes CL-Class,
  10   2013-2017 Mercedes CLA-Class, 2003-2009 Mercedes CLK-Class, 2004-2017
  11   Mercedes CLS-Class, 2003-2016 Mercedes E-Class, 2007-2017 Mercedes GL-
  12   Class, 2010-2016 Mercedes GLK-Class, 2006-2016 Mercedes M-Class, 2017
  13   Mercedes GLE-Class, 2006-2015 Mercedes R-Class, 1999-2017 Mercedes S-Class,
  14   2003-2012 Mercedes SL-Class, 2004-2016 Mercedes SLK-Class, and 2002-2013
  15   Maybach 57 and 62 (the “Class Vehicles”).
  16                3.     This action is brought to remedy violations of law in connection
  17   with Mercedes’s design, manufacture, marketing, advertising, selling/leasing,
  18   warranting, and servicing of the Class Vehicles. These Class Vehicles’ heating,
  19   ventilating, and air conditioning systems (“HVAC Systems”) have a serious design
  20   defect that causes the HVAC Systems to (a) accumulate mold and mildew residue
  21   or growth within the HVAC System; (b) emit a moldy or mildewy odor that
  22   permeates the Vehicle cabin when the HVAC system is activated; and (c) cause the
  23   Vehicle’s passenger cabin to be unbearable and thus unusable for its intended
  24   purpose.
  25                4.     On information and belief, the HVAC System is substantially
  26   the same, from a mechanical engineering standpoint, in all Class Vehicles, in that
  27   the HVAC Systems in all Class Vehicles are made up of substantially the same
  28   components (evaporator, evaporator housing, ducting, fan, filter, drain lines, etc.),

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   1   and all employ the same general mechanism to deliver ventilation, heating, and
   2   cooling to the passenger cabin.
   3                 5.     Because of its faulty design, during normal and expected
   4   conditions the HVAC System fails to properly evaporate or drain the condensation
   5   that accumulates within the System, creating a moist, hospitable environment for
   6   the growth of bacteria, fungus, mold, and spores, which then are blown into the
   7   passenger cabin when the HVAC System is in use (the “HVAC System Defect”).
   8   The mold-carrying air has a foul, mildewy smell that is highly unpleasant and can
   9   cause respiratory problems and aggravate allergies.
  10                 6.     The moldy, smelly air emitted by the defective HVAC System is
  11   not a one-time event in the Class Vehicles – Class Members report it occurs every
  12   time the HVAC System is turned on, and is especially pervasive in humid weather
  13   or after it has rained.
  14                 7.     When Plaintiffs and Class Members complain to Mercedes
  15   about the HVAC System Defect, Mercedes’s only “solutions” are replacement of
  16   the cabin air filter or “flushing the system,”2 both of which are temporary and do
  17   not address the defective HVAC System design, and thus are not permanent fixes
  18   for the Defect. What is worse, Mercedes made Class Members pay out-of-pocket
  19   for these temporary “fixes” for the HVAC System Defect even if Class Members’
  20   Vehicles remained under warranty at the time.
  21                 8.     The HVAC System Defect inhibits Class Members’ proper and
  22   comfortable use of their Vehicles, and requires Class Members to pay for repeated
  23   temporary fixes like replacements of the cabin air filter and/or “flushing” of the
  24   HVAC System.
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        “Flushing the system” consists of partially disassembling the dashboard and
  28   drilling a hole into the HVAC System and applying a disinfecting solution to the
       evaporator coil.
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   1                9.     On information and belief, prior to the manufacture and sale or
   2   lease of the Vehicles at issue, Mercedes knew of the HVAC System Defect through
   3   sources such as pre-release evaluation and testing; arbitration actions; repair data;
   4   replacement part sales data; early consumer complaints made directly to Mercedes,
   5   collected by the National Highway Transportation Safety Administration’s Office
   6   of Defect Investigation (“NHTSA ODI”), and/or posted on public online vehicle
   7   owner forums; testing done in response to those complaints; aggregate data from
   8   Mercedes dealers; and other internal sources. Yet despite this knowledge, Mercedes
   9   failed to disclose and actively concealed the HVAC System Defect from Class
  10   Members and the public, and continued to market and advertise the Class Vehicles
  11   as “sophisticated,” “comfortable,” and “state-of-the-art” vehicles, which they are
  12   not.
  13                10.    Mercedes knew or should have known that the “fixes” it charged
  14   Class Members for to “remedy” the HVAC System Defect – such as replacing the
  15   cabin air filter or “flushing the system” – are not permanent solutions for the
  16   Defect.
  17                11.    Mercedes has failed to provide a permanent in-warranty fix for
  18   the Defect and failed to reimburse Class Members for the costs of its temporary
  19   “fixes.”
  20                12.    As a result of Mercedes’s alleged misconduct, Plaintiffs and
  21   Class Members were harmed and suffered actual damages, including that the Class
  22   Vehicles contain defective HVAC Systems, have manifested, and continue to
  23   manifest, the HVAC System Defect, and that Mercedes has not provided a
  24   permanent remedy for this Defect. Furthermore, Plaintiffs and Class Members have
  25   incurred, and will continue to incur, out-of-pocket unreimbursed costs and expenses
  26   relating to the HVAC System Defect.
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   1                                            2.PARTIES
   2               Plaintiff Manan Bhatt
   3                     13.   Plaintiff Manan Bhatt resides in Torrance, California.
   4                     14.   Mr. Bhatt owns a 2010 Mercedes C300W Sports Sedan, which
   5   he purchased on August 25, 2013, as a Mercedes Certified Pre-Owned vehicle from
   6   Alfano Motorcars, Inc., in San Luis Obispo, California. Mr. Bhatt’s Class Vehicle
   7   was designed, manufactured, distributed, advertised, marketed, warranted, and
   8   certified by Mercedes, and bears the Vehicle Identification No.
   9   WDDGF5EBOAF366596.
  10                     15.   Mr. Bhatt purchased his Class Vehicle for his personal, family,
  11   and household use.
  12                     16.   Before purchasing the Vehicle, Mr. Bhatt reviewed the
  13   Vehicle’s ownership history and reported structural and equipment damage through
  14   the website carfax.com. The report indicated no issues or reported recalls.
  15                     17.   Mr. Bhatt purchased a Certified Pre-Owned warranty from
  16   Mercedes for $2295.00. Mr. Bhatt’s Vehicle remained under warranty throughout
  17   the relevant period described herein, during which Mercedes refused to
  18   permanently repair or replace his defective HVAC System.
  19                     18.   Mr. Bhatt experienced a noxious odor caused by the HVAC
  20   System Defect less than a week after he purchased the Vehicle.
  21                     19.   After the incident, Mr. Bhatt notified his selling dealer, Alfano
  22   Motorcars, by phone about the foul moldy smell. The selling dealer suggested that
  23   Mr. Bhatt take the car to a closer Mercedes dealer since Alfano Motorcars is
  24   approximately 200 miles from Mr. Bhatt’s residence. Mr. Bhatt called Mercedes-
  25   Benz of South Bay, in Torrance, California, and explained the problem. The dealer
  26   told Mr. Bhatt that any repair of the HVAC System would not be covered by
  27   warranty until the Vehicle was eligible for its first service under warranty, which
  28   was in May 2014, approximately one year later.

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   1                20.    From approximately a week after his purchase when the smell
   2   originated, to his first service visit in May 2014, some eight months later, Mr. Bhatt
   3   dealt constantly with foul and unpleasant odors in his newly acquired Class
   4   Vehicle. In an attempt to make the passenger cabin bearable so as to be able to
   5   drive and use his vehicle, Mr. Bhatt would air out the Vehicle prior to driving it by
   6   opening its windows, purchased and sprayed air freshener at a cost of
   7   approximately $20.00 each, into the Vehicle each time he entered it.
   8                21.    In May 2014, Mr. Bhatt took the vehicle to Mercedes-Benz of
   9   South Bay in Torrance, California.
  10                22.    Mr. Bhatt explained the continuing smell to the Mercedes dealer
  11   who proceeded to replace the cabin air filter at a cost of approximately $56.75 plus
  12   labor to Mr. Bhatt. Although Mr. Bhatt reasonably believed that the repair would be
  13   covered under the warranty he purchased, the Mercedes dealer claimed that the
  14   filter needed replacing due to “wear and tear” that exceeded the warranty. Mr. Bhatt
  15   disputed the dealer’s claim that he had in any way contributed to or caused the
  16   odor, but the dealer offered Mr. Bhatt no other means of alleviating the foul odor.
  17                23.    Mr. Bhatt was advised to turn off the HVAC System prior to
  18   arrival to his destination to try to eradicate the odor, which he did.
  19                24.    The moldy odor disappeared after the service visit but returned
  20   in December 2014.
  21                25.    Mr. Bhatt again complained of the smell to Mercedes-Benz of
  22   South Bay. The dealer offered Mr. Bhatt two temporary “fixes” for the problem at
  23   Mr. Bhatt’s expense: (1) replace the air cabin filter again for approximately $58 in
  24   parts or (2) perform a complete “flush” of the HVAC System for approximately
  25   $360 in parts and labor.
  26                26.    As Mr. Bhatt’s parents were visiting the next week, he felt he
  27   had no choice but to accept another temporary “fix” and therefore chose to have the
  28   cabin air filter replaced at a cost of $57.65 plus tax to him.

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   1                  27.   In February 2015, Mr. Bhatt lodged an official complaint about
   2   the foul moldy smell while he was at Mercedes-Benz of South Bay. A Mercedes
   3   representative called Mr. Bhatt to discuss the complaint within two weeks of the
   4   date of his last service. The representative explained to Mr. Bhatt that Mercedes
   5   cannot provide the replacement cabin air filter for free because, “There is no
   6   official recall for this part from Mercedes-Benz manufacturing location.
   7   Unfortunately, we cannot provide you with the free parts or labor.” However, as a
   8   good faith gesture the representative added a complimentary cabin air filter
   9   replacement to Mr. Bhatt’s account so that Mr. Bhatt would not be charged for the
  10   next replacement when the moldy odor returns. The representative claimed that the
  11   warranty did not cover Mr. Bhatt’s previous cabin air filter replacements because
  12   those replacements were needed due to excessive “wear and tear” caused by Mr.
  13   Bhatt.
  14                  28.   On or about February 6, 2016, Mr. Bhatt had his cabin filter
  15   changed by Mercedes-Benz of South Bay due to severe foul odor which was
  16   covered by a “one time good[will] gesture.”
  17                  29.   Approximately one month after this filter change in Mr. Bhatt’s
  18   Class Vehicle, the foul odor returned.
  19                  30.   To date, Mr. Bhatt has paid approximately $194.47 out of
  20   pocket for temporary “fixes” for the HVAC System Defect.
  21                  31.   Mr. Bhatt expected his Class Vehicle to be of good and
  22   merchantable quality and not defective. He had no reason to know of, or expect,
  23   that mold would develop in his Vehicle’s HVAC System, nor was he aware from
  24   any source prior to purchase of the unexpected, extraordinary, and costly
  25   maintenance steps Mercedes suggests are necessary to reduce mold growth. Had he
  26   known these facts, he would not have bought his Class Vehicle or would have paid
  27   less for it.
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   1                     32.   Mr. Bhatt regularly saw advertisements for Mercedes vehicles
   2   on television, in magazines, on billboards, in brochures at the dealership, and on the
   3   Internet during the years before he purchased his Mercedes C300W Sports Sedan in
   4   2013. Although he does not recall the specifics of the many Mercedes
   5   advertisements he saw before he purchased his Class Vehicle, he does recall that
   6   state-of-the-art engineering and a comfortable interior were frequent themes across
   7   the advertisements he saw. Those advertisements about state-of-the-art engineering
   8   and a comfortable interior influenced his decision to purchase his Vehicle. Had
   9   those advertisements or any other Mercedes materials disclosed to Mr. Bhatt that
  10   the Class Vehicles had defective HVAC Systems, or that he would have to pay for
  11   repairs/replacement of the HVAC System, he would not have purchased his Class
  12   Vehicle, or would have paid less for it.
  13               Plaintiff Mary Blasco
  14                     33.   Plaintiff Mary Blasco resides in Ontario, California.
  15                     34.   Mrs. Blasco owns a 2016 Mercedes GLC300, which she
  16   purchased new on January 24, 2016, from Mercedes Benz of Ontario in Ontario,
  17   California.
  18                     35.   Mrs. Blasco’s Class Vehicle was designed, manufactured, sold,
  19   distributed, advertised, marketed, and warranted by Mercedes, and bears the
  20   Vehicle Identification No. WDC0G4JB9GF040808.
  21                     36.   Mrs. Blasco purchased her Class Vehicle primarily for her
  22   personal, family, and household use.
  23                     37.   Mrs. Blasco expected her Class Vehicle to be of good and
  24   merchantable quality and not defective. She had no reason to know, or expect, that
  25   mold would develop in her Vehicle’s HVAC System, nor was she aware from any
  26   source prior to purchase of the unexpected, extraordinary, and costly maintenance
  27   steps Mercedes suggests are necessary to prevent the development of mold. Had she
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   1   known these facts, she would not have bought her Class Vehicle or would have
   2   paid less for it.
   3                 38.   Mrs. Blasco first experienced a noxious odor caused by the
   4   HVAC System a few months after its purchase.
   5                 39.   Since that time, the noxious odor has continued unabated. The
   6   HVAC System emits the odor when the Vehicle’s climate control system is first
   7   engaged and generally persists and is worse in the summer.
   8                 40.   The strength of the odor intensifies after usage of the HVAC
   9   System.
  10                 41.   Mrs. Blasco brought her concerns regarding a strong sour/moldy
  11   smell in her Vehicle to her selling dealer’s service department in June 2016, and
  12   was told that she must pay for a HVAC System service and cleaning. Mrs. Blasco
  13   refused to pay for the service. The dealer conducted a complimentary “one time”
  14   cleaning.
  15                 42.   The servicing dealer installed air fresheners throughout the
  16   interior of the Vehicle in an attempt to abate or mask the odor. Mrs. Blasco would
  17   find air fresheners hidden in the interior of the Vehicle after it was serviced.
  18                 43.   Despite the cleaning, the odor persisted and Mrs. Blasco’s Class
  19   Vehicle was brought in to her selling dealer’s service department in Spring 2017
  20   with an odor complaint. The dealer advised that there would be a charge for the
  21   cleaning, and again, Mrs. Blasco refused. Another complimentary cleaning was
  22   conducted. The foul and noxious odor returned shortly thereafter.
  23                 44.   Mrs. Blasco regularly saw advertisements for Mercedes
  24   vehicles on television, in magazines, on billboards, in brochures at the dealership,
  25   and on the Internet during the years before she purchased her Mercedes GLC300 in
  26   2016. Although she does not recall the specifics of the many Mercedes
  27   advertisements she saw before she purchased her class vehicle, she does recall that
  28   state-of-the-art engineering and a comfortable interior were frequent themes across

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   1    the advertisements she saw. Those advertisements about state-of-the-art engineering
   2    and a comfortable interior influenced her decision to purchase her vehicle. Had
   3    those advertisements or any other Mercedes materials disclosed to Mrs. Blasco that
   4    the Class Vehicles had defective HVAC Systems, or that she would have to pay for
   5    repairs/replacement of the HVAC System, she would not have purchased her Class
   6    Vehicle, or would have paid less for it.
   7                Defendant Mercedes-Benz USA, LLC
   8                     45.   Defendant Mercedes-Benz USA, LLC (“MBUSA”) is a
   9    Delaware corporation with its principal place of business in Atlanta, Georgia.
  10                     46.   Prior to July 2015, MBUSA’s principal place of business was in
  11    Montvale, New Jersey.
  12                     47.   MBUSA is a wholly owned subsidiary of Daimler.
  13                     48.   At all times relevant herein, MBUSA has been and has acted as
  14    an agent of Daimler and subject to Daimler’s control.
  15                     49.   At all times relevant herein, MBUSA (itself and through its
  16    related entities) engaged in the business of marketing, warranting, distributing,
  17    selling, leasing, and servicing automobiles designed and manufactured by Daimler,
  18    including the Class Vehicles, in California and throughout the United States.
  19                Defendant Daimler AG
  20                     50.   Defendant Daimler AG (“Daimler”) is a German corporation
  21    with its principal place of business in Stuttgart, Germany.
  22                     51.   At all times relevant herein, Daimler (itself and through its
  23    related entities) engaged in the business of designing and manufacturing the Class
  24    Vehicles.
  25                     52.   According to MBUSA’s counsel, Daimler was solely
  26    responsible for designing the Class Vehicles, including their defective HVAC
  27    Systems; therefore Daimler is an essential party to this action concerning a design
  28    defect in the Class Vehicles’ HVAC Systems.

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   1                 53.    Upon information and belief, Daimler has, and at all relevant
   2    times had, the contractual right to exercise, and in practice has exercised, control
   3    over MBUSA’s work, including but not limited to the manner of Class Vehicles’
   4    marketing, the scope of written warranties, the scope of repairs in practice to be
   5    covered under warranty, and representations made and facts withheld from
   6    consumers and the public about the HVAC System Defect.
   7                 54.    Daimler has held MBUSA out as its agent for all purposes in the
   8    United States, but especially for sales and marketing of Class Vehicles and for
   9    ongoing management of relationships with purchasers and lessees of Class
  10    Vehicles. It established MBUSA as its wholly-owned subsidiary company. It
  11    named MBUSA with its official “Mercedes-Benz” title. It provided MBUSA with
  12    marketing and technical materials avoiding any distinction between MBUSA and
  13    Daimler, and instead representing MBUSA as nothing less than Daimler’s presence
  14    in the United States for purposes of selling and leasing “Mercedes-Benz” branded
  15    vehicles and providing related services.
  16                 55.    Based on the foregoing actions, representations, and omissions,
  17    Plaintiffs and Class Members justifiably relied on MBUSA’s representations
  18    regarding the Class Vehicles that were the responsibility of Daimler in, for
  19    example, Daimler’s design of the Class Vehicles, and were injured because of their
  20    purchase or lease of defective Class Vehicles.
  21                                     3.JURISDICTION
  22    Subject-matter jurisdiction
  23                 56.    This Court has federal question jurisdiction over this action
  24    under 28 U.S.C. § 1331 because this case includes claims arising under federal law.
  25                 57.    This Court has diversity jurisdiction over this action pursuant to
  26    28 U.S.C. §1332(d) and the Class Action Fairness Act because the amount in
  27    controversy for the Class exceeds $5,000,000, and Plaintiffs and other Class
  28    Members are citizens of different states than Defendants.

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   1    Personal jurisdiction: MBUSA
   2                 58.    This Court has personal jurisdiction over MBUSA because
   3    MBUSA is authorized to do business in this District, conducts substantial business
   4    in this District, and some of the actions giving rise to this Complaint took place in
   5    this District. Each of these facts independently, but also all of these facts together,
   6    are sufficient to render the exercise of jurisdiction by this Court over MBUSA
   7    permissible under traditional notions of fair play and substantial justice.
   8    Personal jurisdiction: Daimler
   9                 59.    This Court has personal jurisdiction over Daimler because
  10    Daimler has continuous and systematic general business contacts in this District.
  11                 60.    By using MBUSA as its channel for marketing, distributing,
  12    warranting, selling, and leasing the Daimler-designed Class Vehicles in this District
  13    and the United States, Daimler itself has deliberately taken affirmative steps to
  14    make Daimler-designed vehicles available to consumers in this District and the rest
  15    of California, including Plaintiffs and Class Members; created continuing
  16    obligations between Daimler and residents of this District; and purposefully availed
  17    itself of the benefits and protections of conducting business in this District and
  18    California generally.
  19                 61.    Daimler employees and representatives regularly visit Daimler
  20    subsidiaries located in this District, thereby continuously conducting business in
  21    this District and California generally. For example, Mercedes’s North American
  22    research headquarters is in California. And, in total, California is home to three of
  23    five of Mercedes’s North American research facilities. Besides the research
  24    headquarters in Sunnyvale, Mercedes has California facilities in Long Beach and
  25    Carlsbad. Daimler regularly conducts business in California thought its visits to
  26    these California subsidiaries.
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   1                 62.    Further, Daimler’s wholly owned subsidiary and agent MBUSA
   2    has substantial and consistent contacts in this District, as described above, and as
   3    Daimler’s agent MBUSA’s contacts in this District can be attributed to Daimler.
   4                 63.    Finally, Plaintiffs’ claims here arise out of Daimler’s contacts
   5    with this District, particularly in that Plaintiffs could not even have purchased or
   6    leased their Class Vehicles if not for Daimler’s intentional acts of designing the
   7    Class Vehicles (including their defective HVAC Systems) and exporting them for
   8    sale to customers in this District and the rest of California, including Plaintiffs and
   9    Class Members.
  10                 64.    These constitute sufficient bases to render the exercise of
  11    jurisdiction over Daimler by this Court permissible under traditional notions of fair
  12    play and substantial justice.
  13                                          4.VENUE
  14                 65.    Venue is proper in this District under 28 U.S.C. § 1391 because
  15    Mercedes is deemed to reside in any judicial district in which it is subject to
  16    personal jurisdiction. Additionally, Mercedes transacts business within this District,
  17    and some of the events establishing the claims at issue here arose in this District.
  18                 66.    Plaintiffs’ venue declarations pursuant to Cal. Civ. Code
  19    § 1780(d) are attached hereto as Exhibits A and B.
  20                                    5.APPLICABLE LAW
  21                 67.    Plaintiffs and all Class Members purchased or leased their Class
  22    Vehicles in California, and seek damages and equitable relief for themselves and all
  23    Class Members under California law.
  24                 68.    California has a materially greater interest than any other state in
  25    enforcing the rights and remedies granted to consumers under the California laws
  26    invoked in this Complaint. These rights and remedies further the strong
  27    fundamental public policies of the State of California.
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   1                              6.FACTUAL ALLEGATIONS
   2                 69.   Plaintiffs are informed and believe that, because of the HVAC
   3    System Defect, the HVAC Systems in the Class Vehicles are predisposed to foster
   4    mold growth and produce a moldy odor under normal-use conditions that would not
   5    cause non-defective HVAC Systems to produce a moldy odor, compromising the
   6    comfort and enjoyment of vehicle occupants, including Class Members, and
   7    requiring them to pay for repeated temporary “fixes” including replacements of the
   8    cabin air filter and “flushing the system” with disinfectant spray or foam.
   9                 70.   The diagram below illustrates the components and air flow of
  10    the HVAC systems:
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   1                 71.   As a vehicle’s HVAC system cools air, condensation forms on a
   2    component called an evaporator (labeled 3 in the diagram above). In a non-
   3    defective system, this condensation is evaporated through the activation of a fan
   4    and via airflow over the evaporator.
   5                 72.   On information and belief, condensation that builds on the
   6    evaporator and elsewhere within the Class Vehicles’ HVAC Systems is never
   7    properly and fully evaporated. This residual moisture provides a haven for the
   8    growth of mold and mildew as spores enter the System through outside vents.
   9                 73.   Based on preliminary investigation and inspection, due to the
  10    Defect, several mold species, including Aspergillus/Pencillium, Ascospores, and
  11    Smut/Periconia/Myxomy, are present in the evaporators of the Class Vehicles. Said
  12    molds are known to secrete odorous mycotoxins such as Patulin, creating and
  13    contributing to the foul odors experienced by Plaintiffs and Class Members.
  14                 74.   Mycotoxins are toxic to humans and animals and are known to
  15    cause some or all of the following: allergic reactions, infections, cellular damage,
  16    DNA damage, interference with RNA synthesis, inflammation, gastroenteritis, and
  17    other harmful effects.
  18                 75.   Mercedes knew or should have known that having a damp,
  19    poorly draining HVAC System component that could promote the growth of mold
  20    could result in or at least exacerbate reactions, diseases, symptoms, or
  21    complications in occupants of the Class Vehicles, presenting a risk to their health
  22    and safety, especially when the mold growth is in the airway to a tightly sealed and
  23    enclosed space containing one or more human beings and animals.
  24                 76.   Over time, the mold/mildew/fungus growing in the evaporator
  25    can spread, resulting in reduced HVAC System efficiency, while also becoming
  26    more difficult to remove and requiring evaporator replacement in some instances.
  27
  28

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   1                     77.   Moreover, the tightly sealed and enclosed Vehicle passenger
   2    compartment can cause concentration levels of toxic smells and chemicals to
   3    become much higher than they would in larger and less tightly sealed spaces.
   4                     78.   Replacing the cabin air filter is not a fix for the Defect because
   5    the filter is “upstream” from the evaporator.
   6                     79.   Flushing the system is not a permanent fix for the Defect
   7    because it simply temporarily reduces mold growth but does not eliminate the
   8    cause.
   9                A.   Mercedes Knew of the HVAC System Defect Prior to Sale or Lease
                         of the Class Vehicles
  10
                         80.   On information and belief, Mercedes learned of the HVAC
  11
        System Defect at least as early as 2008, and certainly well before Plaintiffs and
  12
        Class Members purchased or leased their Class Vehicles, through sources such as
  13
        pre-release evaluation and testing; arbitration actions; repair data; replacement part
  14
        sales data; early consumer complaints made directly to Mercedes, collected by
  15
        NHTSA ODI, and/or posted on public online vehicle owner forums; testing done in
  16
        response to those complaints; aggregate data from Mercedes dealers; as well as
  17
        through other internal sources unavailable to Plaintiffs prior to discovery.
  18
                    B.   Mercedes’s Knowledge of the HVAC System Defect Gained from
  19                     Pre-Release Design, Manufacture, Engineering, and Testing Data
  20                     81.   During the pre-release process of designing, manufacturing,
  21    engineering, and testing the Class Vehicles, Mercedes necessarily would have
  22    gained comprehensive and exclusive knowledge about the Class Vehicle’s HVAC
  23    Systems, particularly the basic engineering principles behind the construction and
  24    function of the Systems and the expected conditions and uses the Systems would
  25    encounter in ordinary customer service.
  26                     82.   An adequate pre-release analysis of the design, engineering, and
  27    manufacture of the HVAC Systems in the Class Vehicles would have revealed to
  28    Mercedes that the HVAC Systems were defective and would foster the growth of

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   1    mold and other biological agents and therefore introduce moldy air into the
   2    passenger cabin.
   3                C.   Mercedes Was Directly Made Aware of the Defect Via a Successful
                         Consumer Arbitration Action Brought Against It
   4
                         83.   Mercedes learned of the HVAC System Defect at least as early
   5
        as 2008, when a Class Vehicle owner brought – and won – a consumer arbitration
   6
        action against Mercedes for the Defect. Plaintiffs were not aware of this arbitration
   7
        action at the time they purchased their Class Vehicles.
   8
                         84.   The following is a synopsis of the Florida Consumer Complaint
   9
        and Arbitration decision rendered against Mercedes in Fattah v. Mercedes-Benz
  10
        USA, Inc., 2008-0441/MIA (Fla. NMVAB November 14, 2008):
  11
                         The Consumer complained of a foul musty odor coming
  12                     from the air conditioner vents in her 2007 Mercedes
  13                     C230. The Consumer testified that the severity of the odor
                         had reduced; however, the odor still existed. The
  14                     Manufacturer contended that the alleged defect did not
  15                     substantially impair the use, value or safety of the vehicle.
                         While not denying the existence of the odor, the
  16                     Manufacturer asserted that outside elements and humid
  17                     South Florida temperatures contributed to the odor. The
                         Board rejected the Manufacturer’s argument and found
  18                     that the odor substantially impaired the use, value and
  19                     safety of the vehicle. Accordingly, the Consumer was
                         awarded a refund.3
  20
                         85.   During the arbitration hearing, Mercedes was represented by its
  21
        counsel, a MBUSA representative out of the Montvale, NJ, headquarters, a
  22
        MBUSA Technical Specialist for the South Florida region, and the Service
  23
        Manager at the dealership the consumer had visited complaining about the odor.
  24
  25
  26
        3
  27     Office of the Florida Attorney General, Florida New Motor Vehicle Arbitration
        Board Quarterly Case Summary for 4th Quarter (October 2008 - December 2008),
  28    available at http://myfloridalegal.com/webfiles.nsf/WF/MRAY-7SAJZG/$file/Oct-
        Dec08.pdf.
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   1                      86.    Mercedes described the HVAC System Defect during the
   2    hearing: “The system works in such a way that it will – the AC is supposed to get
   3    rid of all the humidity from the air, ok? And in some cases, you know, where you
   4    shut the car off, some water will remain in the evaporator … what happens is it will
   5    accumulate there. It will not fully drain.” Mercedes went on to say that the water
   6    that accumulates is what ultimately leads to the moldy odor.
   7                      87.    Under questioning from the Arbitration Board, Mercedes
   8    admitted that as long as the consumer kept the car, she would have to repeatedly get
   9    Mercedes’s temporary “fix,” which one Board member called “a band-aid.”
  10                      88.    During deliberation, the Board found:
  11                The issue with the vehicle is that it’s got a musty smell, Mercedes knows
  12                about it, they have a technical service bulletin to address it, so apparently
  13                they’ve had enough complaints on this where it rose to the level of having to
  14                deal with it. The way they deal with it is they use the disinfectant to clean,
  15                and if you read the TSB, you’ve got to get in there and make sure you clean
  16                the whole evaporator as much as possible … Mercedes has admitted that,
  17                yeah, there is a problem, that this is the best they know how to fix it. … So
  18                nothing that they’ve done has made the smell completely disappear.
  19                …
  20
  21                You know, that’s one way to look at it in terms of how strong the odor is.
  22                Another way to look at it is that the cure doesn’t work. And this is going to
  23                be with her and the vehicle for as long as she has the vehicle. That’s the way
  24                it looks, because she’s coming back in and that’s why I was questioning him,
  25                because I wanted to see if they found the problem and here’s the solution to
  26                the problem. There is no real solution. In other words, they haven’t come up
  27                with anything to say, I mean, change this and there’s not going to be anymore
  28                accumulation of water and, in fact, in other models, from what he’s saying,

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   1                they don’t have that problem because whatever the engineering is, it prevents
   2                it. And on this model, it’s not there. So, you know, it’s sort of like a defect,
   3                which they are trying to deal with, and they can’t really deal with it in all the
   4                cases.
   5                …
   6
   7                there’s really not a fix for the vehicle. And there shouldn’t be a smell to the
   8                vehicle. This is a vehicle that, to me, the fact that the smell persists is
   9                substantial in itself. I think that this is a substantial problem that this vehicle
  10                has with this smell. It’s not going to go away. There’s nothing you can do
  11                that’s going to say we’re going to eliminate the smell in this car. It’s just not
  12                gonna happen. There’s no remedy to get rid of the smell, period. … And I
  13                have a problem with that. … it’s just a design problem issue.
  14                         89.   Mercedes clearly knew or should have known of the HVAC
  15    System Defect from at least as early as this arbitration hearing in 2008.
  16                D.       Mercedes’s Knowledge of the HVAC System Defect from Dealer
                             Technical Bulletins
  17
                             90.   Mercedes’s knowledge of the HVAC System Defect is
  18
        demonstrated by Dealer Technical Bulletins issued by Mercedes concerning the
  19
        Defect.
  20
                             91.   Upon information and belief, Mercedes issued Dealer Technical
  21
        Bulletins to its dealerships and service centers describing the HVAC System Defect
  22
        (or the moldy smell consumers were complaining about) and informing service
  23
        technicians of the temporary “fixes” Mercedes was offering.
  24
                    E.       Mercedes’s Knowledge of the HVAC System Defect from Repair
  25                         Data
  26                         92.   Mercedes also knew or should have known about the HVAC
  27    System Defect because of the large number of HVAC System repairs and cabin air
  28    filter replacements made during the Class Vehicles’ warranty periods.

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   1                     93.   Upon information and belief, Mercedes collects, reviews, and
   2    analyzes detailed information about repairs made on vehicles still under warranty at
   3    its dealerships and service centers, including the type and frequency of such
   4    repairs.4 Complete data on such repairs is exclusively within Mercedes’s control
   5    and unavailable to Plaintiffs without discovery.
   6                F.   Mercedes’s Knowledge of the HVAC System Defect Gathered
                         from the Large Number of Replacement Cabin Air Filters
   7                     Ordered from Mercedes
   8                     94.   Upon information and belief, Mercedes also knew or should
   9    have known about the HVAC System Defect because of the higher than expected
  10    number of replacement cabin air filters ordered from Mercedes, which should have
  11    alerted Mercedes that this was a Defect affecting a wide range of its vehicles.
  12                     95.   Upon information and belief, Mercedes service centers use
  13    Mercedes replacement parts that they order directly from Mercedes. Therefore
  14    Mercedes would have detailed and accurate data regarding the number and
  15    frequency of replacement part orders, including replacement cabin air filters. The
  16    ongoing high sales of replacement cabin air filters was (or should have been)
  17    known to Mercedes, and alerted Mercedes that its HVAC Systems were defective
  18    and causing Class Vehicles’ HVAC Systems to emit moldy odors frequently and
  19    consistently.
  20                G.   Mercedes’s Knowledge of the HVAC System Defect Gained from
                         Class Member Complaints Made Directly to Mercedes
  21
                         96.   Mercedes also knew or should have known about the HVAC
  22
        System Defect because numerous consumer complaints regarding failures of the
  23
        HVAC System were made directly to Mercedes. The large number of complaints,
  24
        and the consistency of their descriptions of the HVAC System Defect, the mold
  25
  26
  27    4
          For example, in the Fattah arbitration hearing, Mercedes-Benz counsel testified
  28    that Mercedes received a “motor vehicle defect notification” after at least three
        repairs for the HVAC System odor.
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   1    formation, and the foul, noxious odors it caused in the Class Vehicles, should have
   2    alerted Mercedes to this serious Defect affecting a wide range of its vehicles.
   3                      97.    The full universe of complaints made directly to Mercedes about
   4    the HVAC System Defect is information presently in the exclusive custody and
   5    control of Mercedes and is not yet available to Plaintiffs prior to discovery.
   6    However, on information and belief, many Class Vehicle owners complained
   7    directly to Mercedes and Mercedes dealerships about the repeated HVAC System
   8    failures their Vehicles experienced. For example, some instances of these direct-to-
   9    Mercedes complaints are described in Class Vehicle owners’ complaints logged
  10    with NHTSA ODI and posted on online vehicle owner forums:5
  11
        •           “I am going to start this by copying the information that I sent to the Nevada
  12
        DMW and to Mercedes corporate as well as the dealership. Mercedes WILL NOT
  13
        respond to our complaints and neither will the dealership. Here is a background on
  14
        this terrible car that is a big waste of money! We purchased the vehicle on
  15
        December 3, 2011. … On May 2, 2012, with 4,280 miles on the vehicle, we
  16
        brought it in because of a terrible moldy, wet smell coming from the air vents. The
  17
        air filter was removed, replaced and was put into the blowers. The AC system was
  18
        also revitalized. The smell came back within two days. The dealership did not fix
  19
        this problem.” Forum.edmunds.com (posted February 2013).
  20
  21    •           “My car smells like mildew and moldy. I have taken it to the dealer about 3
  22    times about this situation. I have respiratory problems and allergies and I can hardly
  23    use this car, it stinks and bothers my breathing.” Complaint in NHTSA ODI
  24    database, ODI ID No. 10342816, date of incident October 28, 2008.
  25
  26
        5
  27     For these and other customer complaints quoted in this Complaint, quotes are left
        as written, except that those originally in all-caps have been changed to sentence
  28    case. Due to the sheer number of typographical and grammatical errors, [sic]
        notation has not been used. Any emphasis has been added, unless otherwise noted.
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   1    •           Took my 09 C300 in to MB for a moldy smell. Wife just called and said they
   2    want $155.00. Car has 24,000 on it. Question shouldn’t this be covered under
   3    warranty?” http://www.benzworld.org/forums/ (posted on March 2011)
   4
        •           “I have a 2006 E350 that has developed a noticeable musty/mold smell
   5
        emitting from the a/c system. Car is under warranty, dealership is just changing
   6
        parts in hopes of stumbling across the problem. To date they have changed the
   7
        cabin air filter and done the service bulletin on system clean-out, replaced the
   8
        condenser …. Anyway, now I notice a distinct mold smell coming from the front,
   9
        outside area of the car when it’s parked in the garage. I have been on my knees
  10
        crawling all around the car and cannot nail the source. The dealership service writer
  11
        is useless as I probably could leave a voicemail for the mechanic and probably do
  12
        better. Car always garaged in Palm Beach area. Any clues? Thanks.”
  13
        peachparts.com (posted April 2007).
  14
  15                      98.   As the above sampling of complaints shows, Class Members
  16    have been vocal in complaining directly to Mercedes about the HVAC System
  17    Defect, and the number and consistency of their complaints should have alerted
  18    Mercedes about the HVAC System Defect.
  19                H.    Mercedes’s Knowledge of the HVAC System Defect from Class
                          Member Complaints Collected by NHTSA’s Office of Defect
  20                      Investigations
  21                      99.   In addition to complaints made directly to Mercedes, many
  22    Class Vehicle owners and lessees lodged complaints about the HVAC System
  23    Defect with NHTSA ODI, beginning as early as 2008, and certainly well before
  24    Plaintiffs and Class Members purchased or leased their Class Vehicles.
  25                      100. Federal law requires automakers like Mercedes to be in close
  26    contact with NHTSA regarding potential auto defects, including imposing a legal
  27    requirement, backed by criminal penalties for violation, of confidential disclosure
  28

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   1    of defects by automakers to NHTSA, including field reports, customer complaints,
   2    and warranty data. See TREAD Act, Pub. L. No. 106-414, 114 Stat. 1800 (2000).
   3                      101. Thus automakers should (and do) monitor NHTSA databases for
   4    consumer complaints regarding their automobiles as part of the automakers’
   5    ongoing obligation to identify potential defects in their vehicles, including design-
   6    related defects, such as failures of HVAC Systems to emit mold- and odor-free air
   7    as intended.
   8                      102. From its monitoring of the NHTSA databases, Mercedes knew
   9    or should have known of the many complaints about HVAC System Defect logged
  10    by NHTSA ODI, and the content, consistency, and large number of those
  11    complaints alerted, or should have alerted, Mercedes to the HVAC System Defect.
  12                      103. NHTSA’s publicly available ODI database only contains
  13    complaints made in the past five years; thus complaints made before 2012 are not
  14    readily accessible. Mercedes, however, had contemporaneous and on-going access
  15    to the NHTSA consumer complaint data and that information cannot be obtained by
  16    Plaintiffs without discovery. A sampling of the publicly available complaints
  17    lodged with NHTSA ODI, however, includes those quoted above, as well as the
  18    following:
  19
        •           “Molds and mildew build up in the air condition ducts placing people who
  20
        are susceptible for infection (people with weak immune system) at risk for fatal
  21
        infection. The dealer stated that this is a known and common condition for this car
  22
        because the AC box does not drain the condensed water. This is because the way
  23
        the car was designed. The dealer recommended turning off the AC for 30 seconds
  24
        while keeping just the fan on every time before turning off the car to dry up the
  25
        condensed water on the AC coils, not practical. The dealer has a known service to
  26
        disinfect the AC system but because of the car design could not guarantee that the
  27
        condition will not return. There is no warning or any instructions in the manual
  28

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   1    regarding this potentially fatal condition for susceptible people.” Complaint in
   2    NHTSA ODI database, ODI ID No. 1065573, date of incident July 12, 2014.
   3
        •           “My car smells like mildew and moldy. I have taken it to the dealer about 3
   4
        times about this situation. I have respiratory problems and allergies and I can hardly
   5
        use this car, it stinks and bothers my breathing.” Complaint in NHTSA ODI
   6
        database, ODI ID No. 10342816, date of incident October 28, 2008.
   7
   8                      104. As the above sampling of complaints makes clear, Class
   9    Members have been vocal in complaining to NHTSA ODI about the HVAC System
  10    Defect since at least 2008, and Mercedes was, or should have been, aware of and
  11    monitoring those complaints, and thus should have known about the HVAC System
  12    Defect since at least 2008, and certainly well before Plaintiffs and Class Members
  13    purchased or leased their Class Vehicles.
  14                I.    Mercedes’s Knowledge of the HVAC System Defect Gleaned from
                          Class Member Complaints on Public Online Forums
  15
                          105. In addition to complaints made directly to Mercedes and
  16
        collected by NHTSA ODI, many Class Vehicle owners and lessees posted
  17
        complaints about the HVAC System Defect on public online vehicle owner forums.
  18
        The following is a small sampling of such complaints:
  19
  20    •           “Definitely a strong odor coming from the HVAC system that makes it a
  21    little embarrassing to have others ride along in your “luxury” automobile. Any
  22    advice on how to completely correct this would be appreciated.”
  23    www.repairpal.com
  24
        •           “Crayon type smell in the HVAC system that is so pungent that the wife
  25
        can’t even stand to be in the car.” www.repairpal.com
  26
  27    •           “I have noticed a very bad or mushy smell when I start my car with A/C off
  28    (after I have shut the car for sometime and the AC was running when I shut the

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   1    car). This gets better in 10-15 seconds after I turn the AC on. The smell is a very
   2    strong smell of moisture with stangnant air.... Does anyone have the same
   3    experience? I am worried as it might be a problem with my cabin air filter. My car
   4    is only 3000miles on it. Thanks” http://mbworld.org/forums/ (posted on March
   5    2012).
   6
        •           “Whenever I turn the air on, the first 30 seconds it smells really bad, I have to
   7
        open the windows till it clears out. I checked all the filters already. Any idea how
   8
        can I make it smell nice/normal?? thnx alot,Lina.” Answers.yahoo.com (posted
   9
        2007).
  10
  11    •           “My wife complained that our 2014 S550 also had musty dirty socks smell 7
  12    months after purchase. I confirmed the smell and my wife’s multiple friends
  13    confirmed the “sour stinking socks smell”. I took the car (S550) to the FJ Newport
  14    but they say unable to confirm the smell and told us to pick up the car. They also
  15    say that they don’t have any known problem with 2014 S550 and further say that
  16    the advisor is told to not take the car in the shop unless they can verify the smell. I
  17    guess all dealer techs are very insensitive to smells. So we had to pick up the car
  18    and bring the car back home. We stopped driving the S550 for a while (weeks) until
  19    we are sure of mold free. Because both my wife and I have a certain genetic marker
  20    and also have compromised auto immune system and we cannot deal with any mold
  21    issue if there exists.” Mbworld.org (posted December 2014)
  22
        •           “My problem concerns a 2001 C320 with 60,000 miles. The climate control
  23
        emits an extremely musty sour smell from the air vents when the vehicle is first
  24
        started with the AC on. I presume the air ducts are clear of anything that might
  25
        smell as the smell is absent when in the heat mode. I have wondered if the problem
  26
        might be related to the AC charging system, receiver/drier, or a condensation drain
  27
        tube etc. I know little or nothing about my MB AC. Any thoughts or advice are
  28

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   1    appreciated before I start dismantling & throw parts at it.” www.mbca.org (posted
   2    October 2004).
   3
        •           “Visitor, 2006 Mercedes-Benz C230, 45,000 mi. Smelly mildew hvac.”
   4
        Forum repairpal.com/mildew-in-heater-box-403
   5
   6    •           “The heating, ventilation and AC (HVAC) heater box is susceptible to
   7    mildew buildup. This can result in a musty odor from the HVAC system, most
   8    noticeable when the system is first turned on.” Forum repairpal.com/mildew-in-
   9    heater-box-403
  10
        •           “We just dropped our 2015 ML 350 off at the dealership due to an extreme
  11
        vinegar emis[s]ion from the AC. The tech said it will be $330 to clean/flush and
  12
        replace the filter as this issue is NOT covered under the bumper to bumper
  13
        war[r]anty. It’s a very common problem, apparently, as he gave us his very
  14
        ‘rehearsed’ answer as to why this happens. (The condensation has nowhere to
  15
        escape and becomes moldy). He suggested we park it on a slope and that we should
  16
        turn off the AC 5 mins before we arrive at our destination! I don’t think that we
  17
        should have to babysit the AC in a luxury car! He also said that ALL luxury cars
  18
        have this issue. Well, we’ve owned Audi’s, BMW’s and Lexus products all with
  19
        NO AC issues. So I'm calling BS on Mercedes and I believe that they have known
  20
        about this issue for years and should be including this service cost in the warranty.
  21
        Plus, from what I’ve read this will happen often, it’s not a 1 time fix.”
  22
        Bbenzworld.org (posted February 2016)
  23
  24                      106. As shown by this small sampling of complaints from vehicle
  25    owner forums consumers have been vocal in complaining about the HVAC System
  26    Defect and the moldy smell it causes. A multi-billion dollar automaker like
  27    Mercedes undoubtedly had and has a marketing department that tracks such sites
  28

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   1    and should reasonably have been aware of the HVAC System Defect in the Class
   2    Vehicles.
   3                 107. In sum, as early as 2008, and certainly well before Plaintiffs and
   4    Class Members purchased or leased their Class Vehicles, Mercedes was aware of
   5    the HVAC System Defect, should have been aware of the HVAC System Defect
   6    through the exercise of reasonable care, and/or was negligent in failing to be aware
   7    of the HVAC System Defect, based on, among others, the following sources:
   8                 a.    Pre-release design, manufacturing, engineering, and testing data;
   9                 b.    Arbitration actions against Mercedes related to the Defect;
  10                 c.    Detailed data gathered by Mercedes about large number of
  11    HVAC System Defect repairs;
  12                 d.    Knowledge Mercedes had of the large number of replacement
  13    HVAC System parts ordered from Mercedes;
  14                 e.    Numerous and consistent consumer complaints made directly to
  15    Mercedes about the HVAC System Defect;
  16                 f.    Numerous and consistent consumer complaints collected by
  17    NHTSA ODI about the HVAC System Defect;
  18                 g.    Numerous and consistent consumer complaints made on online
  19    vehicle owner forums;
  20                 h.    Service bulletins sent by Mercedes to its dealerships evincing
  21    knowledge of ongoing issues with HVAC Systems in the Class Vehicles; and
  22                 i.    Mercedes service center employees’ familiarity with and
  23    knowledge of the HVAC System Defect.
  24                 108. Moreover, the large number and consistency of Class Member
  25    complaints describing the HVAC System Defect’s propensity to cause a moldy
  26    odor underscores the fact that Class Members considered the HVAC System Defect
  27    to be a material issue to the reasonable consumer.
  28

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   1                                 7.Applicable Warranties
   2                 109. Mercedes sold and leased the Class Vehicles with a written
   3    express warranty covering the Vehicles for 48 months or 50,000 miles.
   4                 110. Mercedes expressly warranted in writing with respect to the
   5    Class Vehicles that it would “repair under warranty, without charge to you,
   6    anything that goes wrong with your vehicle during the warranty period which is our
   7    fault” (emphasis added). In its written warranty, Mercedes distinguishes
   8    “defects”—for which Mercedes accepts responsibility—from “damage”: “Defects
   9    are covered [by the warranty] since we, the distributor[,] are responsible.
  10    Conversely, we have no control over damage caused by such things as … collision,
  11    misuse, and … improper maintenance.”
  12                 111. Mercedes represents that its Certified Pre-Owned (“CPO”)
  13    vehicles “are backed by one of the most comprehensive certified pre-owned
  14    warranties available.” The program includes a warranty for 12 months or up to
  15    100,000 total accumulated vehicle miles. Mercedes represents that its CPO vehicles
  16    are factory-backed and the extended warranty provides up to five years or 100,000
  17    total vehicle accumulated miles of coverage. Both Mercedes’s new vehicle Limited
  18    Warranty and Certified Pre-Owned Limited Warranty and Extended Warranty
  19    extend coverage to the climate control system, which includes the HVAC System.
  20                 112. Mercedes provides these warranties to buyers and lessees after
  21    the purchase/lease of the Class Vehicle is completed; buyers and lessees have no
  22    pre-sale/lease knowledge or ability to bargain as to the terms of the warranties.
  23                 113. Based on Plaintiffs’ experiences and reports from other
  24    consumers, Mercedes refused to cover the temporary “fixes” (e.g. changing the
  25    filter and flushing the System) under warranty, and instead required Class Members
  26    pay out-of-pocket for these temporary “fixes” for the HVAC System Defect even if
  27    Class Members’ Vehicles remained under warranty at the time.
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   1                          8.Mercedes’s Marketing and Concealment
   2                 114. Upon information and belief, Mercedes knowingly designed,
   3    manufactured, and sold/leased the Class Vehicles with the HVAC System Defect,
   4    while willfully concealing the true inferior quality and sub-standard performance of
   5    the Class Vehicles.
   6                 115. Mercedes directly markets the Class Vehicles to consumers via
   7    extensive nationwide, multimedia advertising campaigns on television, the Internet,
   8    billboards, print publications, mailings, and through other mass media.
   9                 116. Mercedes’s marketing material describes the various Class
  10    Vehicles as “state-of-the-art,” “luxury,” “fine craftsmanship,” and “the most
  11    advanced vehicles on the road.” Mercedes slogan for its vehicles is “the best or
  12    nothing.”
  13                 117. Mercedes’s marketing materials advertised the Vehicles as
  14    “enjoyable” to “everyone” and the HVAC System “filters dust and pollen as small
  15    as 0.0002” from the air. It also promoted videos stating its Vehicles are
  16    “engineering excellence” and “an automotive masterpiece.” Furthermore, it stated,
  17    “Soothing. Standard dual-zone automatic climate control allows the driver and front
  18    passenger to enjoy individualized comfort in any season. The system filters dust
  19    and pollen from the cabin, while a sensor monitors the angle and intensity of
  20    sunlight for more even control of temperature.” This led Plaintiffs and Class
  21    Members to form a reasonable belief and expectation that mold/mildew and foul
  22    smells from outside the Vehicle would not get into the cabin, and certainly caused
  23    the reasonable consumer not to expect that the Vehicle itself would harbor and
  24    facilitate the growth of organic materials regularly giving rise to foul odors making
  25    the use of Class Vehicles anything but soothing or enjoyable.
  26                 118. Mercedes also touts “a rigorous 27-point service checklist to
  27    keep your Mercedes-Benz running effortlessly for the next 10,000,” implying that
  28    Class Vehicles will require less-frequent maintenance than other vehicles. This 27-

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   1    point service checklist includes pre-road test checks of the air cleaner/filter and
   2    HVAC System.
   3                 119. Further, Mercedes represents that its Certified Pre-Owned
   4    vehicles must “meet stringent criteria and pass a rigorous inspection.” This
   5    certification process involves a 164-point inspection, which includes a test of
   6    “Automatic Climate Control Function, Regulation, Display, Odors.” Mercedes
   7    promises that CPO vehicle purchasers/lessees “get industry-leading coverage.”
   8                 120. According to its consumer brochures, “[t]he Mercedes-Benz
   9    Certified Pre-Owned vehicle offers safety, performance and reliability.” Vehicles
  10    that have been Certified Pre-Owned purportedly have passed a thorough
  11    certification inspection. According to its CPO consumer brochure, all Mercedes
  12    CPO vehicles undergo a “climate control inspection” during a road test conducted
  13    by a Mercedes-Benz technician and “[a]ny noted deficiencies are repaired, replaced
  14    or reconditioned” before the vehicle is sold.
  15                 121. In practice, the Class Vehicles are not as comfortable or
  16    enjoyable as Mercedes’s marketing suggests. Mercedes concealed the fact that the
  17    so-called “Luxury” Class Vehicles, which supposedly are “the most advanced
  18    vehicles on the road,” are instead not even comfortable or enjoyable under ordinary
  19    conditions because the HVAC Systems repeatedly and consistently emit foul moldy
  20    odors into the passenger cabin.
  21                 122. Mercedes marketed Class Vehicles and Mercedes Pre-Paid
  22    Maintenance Plans with certain service intervals despite that it knew or should have
  23    known that Class Vehicles could not and were not capable of lasting the stated
  24    service intervals without exhibiting foul odors or smells.
  25                 123. Plaintiffs and Class Members were exposed to Mercedes’s long-
  26    term, national, multimedia marketing campaign touting the supposed sophistication
  27    and comfort of the Class Vehicles, and Class Members justifiably made their
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   1    decisions to purchase or lease their Class Vehicles based on Mercedes’s misleading
   2    marketing that concealed the true, defective nature of the Class Vehicles.
   3                 124. Further, Mercedes knowingly misled Class Members about the
   4    true, defective nature of the Class Vehicles. As detailed above, upon information
   5    and belief, Mercedes has been aware of the HVAC System Defect since at least
   6    2008, and certainly well before Plaintiffs and Class Members purchased or leased
   7    their Class Vehicles, through pre-release evaluation and testing; arbitration actions;
   8    the high number of HVAC System repairs and replacement part sales; and the
   9    numerous and consistent complaints about the HVAC System Defect made directly
  10    to Mercedes, collected by NHTSA, and posted in public online forums.
  11                 125. Despite Mercedes’s knowledge of the Defect, Mercedes told
  12    Class Members who complained about the HVAC System Defect that Mercedes
  13    had never heard of the problem before and that no others had reported similar issues
  14    with their Vehicles’ HVAC Systems.
  15                 126. In sum, Mercedes has actively concealed the existence and
  16    nature of the HVAC System Defect from Class Members since at least 2008 despite
  17    its knowledge of the existence and pervasiveness of the HVAC System Defect.
  18    Specifically, Mercedes has:
  19                 a.      Failed to disclose, at and after the time of purchase, lease, and/or
  20    service, any and all known material defects of the Class Vehicles, including the
  21    HVAC System Defect;
  22                 b.      Failed to disclose, at and after the time of purchase, lease, and/or
  23    service, that the Class Vehicles’ HVAC Systems were defective and not fit for their
  24    intended purposes;
  25                 c.      Failed to disclose, and actively concealed, the fact that the Class
  26    Vehicles’ HVAC Systems were defective, despite that Mercedes learned of the
  27    HVAC System Defect as early as 2008, and certainly well before Plaintiffs and
  28    Class Members purchased or leased their Class Vehicles;

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   1                 d.     Failed to disclose, and actively concealed, the existence and
   2    pervasiveness of the HVAC System Defect even when directly asked about it by
   3    Class Members during communications with Mercedes, Mercedes Customer Care,
   4    Mercedes dealerships, and Mercedes service centers;
   5                 e.     Actively concealed the HVAC System Defect by forcing Class
   6    Members to bear the cost of temporary “fixes” while at the same time performing
   7    those “fixes” at no (or lower) cost for those who complained vocally and often, and
   8    calling these “goodwill” services; and
   9                 f.     Actively concealed the HVAC System Defect by consistently
  10    treating the mold and odors with temporary “fixes,” so that the HVAC System
  11    Defect is not permanently corrected in Class Members’ vehicles, even though Class
  12    Members were led to believe that the “fixes” had cured the moldy odor problem in
  13    their Vehicles.
  14                 127. By engaging in the conduct described above, Mercedes has
  15    concealed, and continues to conceal, the HVAC System Defect from Class
  16    Members. If Class Members had had knowledge of the information Mercedes
  17    concealed, they would not have purchased or leased the Class Vehicles or would
  18    have paid less to do so.
  19                          9.Fraudulent Concealment Allegations
  20                 128. Absent discovery, Plaintiffs are unaware of, and unable through
  21    reasonable investigation to obtain, the true names and identities of those individuals
  22    at Mercedes responsible for disseminating false and misleading marketing materials
  23    regarding the Class Vehicles. Mercedes necessarily is in possession of all of this
  24    information. Plaintiffs’ claims arise out of Mercedes’s fraudulent concealment of
  25    the HVAC System Defect and the foul moldy smells it causes, and its
  26    representations about the world-class quality, sophistication, state-of-the-art
  27    performance and comfort of the Class Vehicles. To the extent that Plaintiffs’ claims
  28    arise from Mercedes’s fraudulent concealment, there is no one document or

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   1    communication, and no one interaction, upon which Plaintiffs base their claims.
   2    Plaintiffs allege that at all relevant times, including specifically at the time they
   3    purchased or leased their Class Vehicles, Mercedes knew, or was reckless in not
   4    knowing, of the HVAC System Defect; Mercedes was under a duty to disclose the
   5    Defect based upon its exclusive knowledge of it, and its concealment of it; and
   6    Mercedes never disclosed the Defect to Plaintiffs or the public at any time or place
   7    or in any manner.
   8                 129. Plaintiffs make the following specific fraud allegations with as
   9    much specificity as possible absent access to the information necessarily available
  10    only to Mercedes:
  11                 a.     Who: Mercedes actively concealed the HVAC System Defect
  12    from Plaintiffs and Class Members while simultaneously touting the safety,
  13    comfort, sophistication, and world-class quality of the Class Vehicles, as alleged in
  14    paragraphs 114-127, above. Plaintiffs are unaware of, and therefore unable to
  15    identify, the true names and identities of those specific individuals at Mercedes
  16    responsible for such decisions.
  17                 b.     What: Mercedes knew, or was reckless or negligent in not
  18    knowing, that the Class Vehicles contain the HVAC System Defect, as alleged
  19    above in paragraphs 80-108. Mercedes concealed the Defect and made
  20    representations about the safety, comfort, sophistication, world-class quality, and
  21    other attributes of the Class Vehicles, as specified above in paragraphs 114-127.
  22                 c.     When: Mercedes concealed material information regarding the
  23    Defect at all times and made representations about the world-class quality,
  24    sophistication, state-of-the-art safety and comfort of the Class Vehicles, starting no
  25    later than 2008, or at the subsequent introduction of certain models of Class
  26    Vehicles to the market, continuing through the time of sale/lease, and on an
  27    ongoing basis, and continuing to this day, as alleged above in paragraphs 114-127.
  28    Mercedes still has not disclosed the truth about the Defect in the Class Vehicles to

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   1    anyone outside of Mercedes. Mercedes has never taken any action to inform
   2    consumers about the true nature of the Defect in Class Vehicles. And when
   3    consumers brought their Vehicles to Mercedes complaining of the foul moldy
   4    odors, Mercedes denied any knowledge of or responsibility for the HVAC System
   5    Defect, and in many instances, actually blamed the customer for causing the odor
   6    problem.
   7                 d.     Where: Mercedes concealed material information regarding the
   8    true nature of the Defect in every communication it had with Plaintiffs and Class
   9    Members and made representations about the world-class quality, sophistication,
  10    state-of-the-art safety, and comfort of the Class Vehicles. Plaintiffs are aware of no
  11    document, communication, or other place or thing, in which Mercedes disclosed the
  12    truth about the Defect in the Class Vehicles to anyone outside of Mercedes. Such
  13    information is not adequately disclosed in any sales documents, displays,
  14    advertisements, warranties, owner’s manuals, or on Mercedes’s website.
  15                 e.     How: Mercedes concealed the HVAC System Defect from
  16    Plaintiffs and Class Members and made representations about the world-class
  17    quality, sophistication, state-of-the-art safety, and comfort of the Class Vehicles.
  18    Mercedes actively concealed the truth about the existence and nature of the Defect
  19    from Plaintiffs and Class Members at all times, even though it knew about the
  20    Defect and knew that information about the Defect would be important to a
  21    reasonable consumer, and Mercedes promised in its marketing materials that Class
  22    Vehicles have qualities that they do not have.
  23                 f.     Why: Mercedes actively concealed material information about
  24    the Defect in the Class Vehicles for the purpose of inducing Plaintiffs and Class
  25    Members to purchase and/or lease Class Vehicles, rather than purchasing or leasing
  26    competitors’ vehicles and made representations about the world-class quality,
  27    sophistication, state-of-the-art safety, and comfort of the Class Vehicles. Had
  28    Mercedes disclosed the truth, for example in its advertisements or other materials or

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   1    communications, Plaintiffs and Class Members (all reasonable consumers) would
   2    have been aware of it, and would not have bought or leased the Class Vehicles or
   3    would have paid less for them.
   4                 10.TOLLING OF THE STATUTE OF LIMITATIONS
   5                            11.Fraudulent Concealment Tolling
   6                 130. Upon information and belief, Mercedes has known of the
   7    HVAC System Defect in the Class Vehicles since at least 2008, and certainly well
   8    before Plaintiffs and Class Members purchased or leased their Class Vehicles, and
   9    yet has concealed from or failed to notify Plaintiffs, Class Members, and the public
  10    of the full and complete nature of the HVAC System Defect, even when directly
  11    asked about it by Class Members during communications with Mercedes, Mercedes
  12    Customer Care, Mercedes dealerships, and Mercedes service centers. Mercedes
  13    continues to conceal the Defect to this day.
  14                 131. Any applicable statute of limitation has been tolled by
  15    Mercedes’s knowledge, active concealment, and denial of the facts alleged herein,
  16    which behavior is ongoing.
  17                                          12.Estoppel
  18                 132. Mercedes was and is under a continuous duty to disclose to
  19    Plaintiffs and Class Members the true character, quality, and nature of the Class
  20    Vehicles. Mercedes actively concealed – and continues to conceal – the true
  21    character, quality, and nature of the Class Vehicles and knowingly made
  22    misrepresentations about the world-class quality, sophistication, state-of-the-art
  23    safety, and comfort of the Class Vehicles. Plaintiffs and Class Members reasonably
  24    relied upon Mercedes’s knowing misrepresentations and active concealment of
  25    these facts. Based on the foregoing, Mercedes is estopped from relying on any
  26    statutes of limitation in defense of this action.
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   1                                      13.Discovery Rule
   2                 133. The causes of action alleged herein did not accrue until
   3    Plaintiffs and Class Members discovered that their Class Vehicles contained the
   4    HVAC System Defect.
   5                 134. However, Plaintiffs and Class Members had no realistic ability
   6    to discern that the Class Vehicles were defective until – at the earliest – after the
   7    HVAC System Defect caused their vehicles to develop mold and emit foul, noxious
   8    odors. Even then, Plaintiffs and Class Members had no reason to know the foul
   9    moldy odors were caused by a defect in the Class Vehicles because of Mercedes’s
  10    active concealment of the HVAC System Defect. Not only did Mercedes fail to
  11    notify Plaintiffs and Class Members about the HVAC System Defect, Mercedes in
  12    fact denied any knowledge of or responsibility for the HVAC System Defect when
  13    directly asked about it, and in many instances, actually blamed the customer for
  14    causing the odor problem. Thus Plaintiffs and Class Members were not reasonably
  15    able to discover the HVAC System Defect until after they had purchased or leased
  16    their Class Vehicles, despite their exercise of due diligence, and their causes of
  17    action did not accrue until they discovered that the HVAC System Defect caused
  18    their Vehicles to harbor mold and emit foul, noxious odors.
  19                          14.CLASS ACTION ALLEGATIONS
  20                 135. Plaintiffs bring this lawsuit as a class action on behalf of
  21    themselves and all other Class Members similarly situated pursuant to Federal
  22    Rules of Civil Procedure 23(a) and (b)(3), (b)(2), and/or (c)(4). This action satisfies
  23    the numerosity, commonality, typicality, adequacy, predominance, and superiority
  24    requirements of those provisions.
  25                 136. Plaintiffs bring this class action, including all causes of action
  26    stated below, on behalf of themselves and all other similarly situated members of
  27    the proposed Class (referred to herein as “Class Members”), defined as follows:
  28                 All persons who purchased or leased a Class Vehicle
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   1                 with the HVAC System in California. A “Class Vehicle”
   2                 is a vehicle of any of the following models/model years:
   3                 2004-2012 Mercedes A-Class,
   4                 2001-2017 Mercedes C-Class,
   5                 2000-2014 Mercedes CL-Class,
   6                 2013-2017 Mercedes CLA-Class,
   7                 2003-2009 Mercedes CLK-Class,
   8                 2004-2017 Mercedes CLS-Class,
   9                 2003-2016 Mercedes E-Class,
  10                 2007-2017 Mercedes GL-Class,
  11                 2010-2016 Mercedes GLK-Class,
  12                 2006-2016 Mercedes M-Class,
  13                 2017 Mercedes GLE-Class,
  14                 2006-2015 Mercedes R-Class,
  15                 1999-2017 Mercedes S-Class,
  16                 2003-2012 Mercedes SL-Class,
  17                 2004-2016 Mercedes SLK-Class, or
  18                 2002-2013 Maybach 57 and 62.
  19                 137. Excluded from the proposed Class are: (1) Mercedes, any entity
  20    or division in which Mercedes has a controlling interest, and its legal
  21    representatives, officers, directors, assigns, and successors; (2) the Judge to whom
  22    this case is assigned and the Judge’s staff; (3) governmental entities; and (4) those
  23    persons who have suffered personal injuries as a result of the facts alleged herein.
  24    Plaintiffs reserve the right to amend the Class definition if discovery and further
  25    investigation reveal that the Class should be expanded, otherwise divided into
  26    subclasses, or modified in any other way.
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   1                                       15.Numerosity
   2                 138. Although the exact number of Class Members is uncertain and
   3    can only be ascertained through appropriate discovery, the number is great enough
   4    such that joinder is impracticable. The disposition of the claims of these Class
   5    Members in a single action will provide substantial benefits to all parties and to the
   6    Court. Class Members are readily identifiable from information and records in
   7    Mercedes’s possession, custody, or control, as well as from records kept by the
   8    Department of Motor Vehicles.
   9                                        16.Typicality
  10                 139. The claims of Plaintiffs are typical of the claims of Class
  11    Members in that Plaintiffs, like all Class Members, purchased or leased a Class
  12    Vehicle designed, manufactured, distributed, warranted, sold/leased, and serviced
  13    by Mercedes. Plaintiffs, like all Class Members, have been damaged by Mercedes’s
  14    misconduct in that they purchased/leased a Vehicle they would not have
  15    purchased/leased, or would not have purchased/leased at the price paid, and
  16    incurred or will incur the cost of repairs relating to and caused by the HVAC
  17    System Defect. Furthermore, the factual bases of Mercedes’s misconduct are
  18    common to all Class Members and represent a common thread of misconduct
  19    resulting in injury to all Class Members.
  20                               17.Adequate Representation
  21                 140. Plaintiffs will fairly and adequately represent and protect the
  22    interests of the Class Members. Plaintiffs have retained counsel with substantial
  23    experience in prosecuting consumer class actions, including actions involving
  24    defective vehicles.
  25                 141. Plaintiffs and their counsel are committed to vigorously
  26    prosecuting this action on behalf of Class Members, and have the financial
  27    resources to do so. Neither Plaintiffs nor their counsel have interests adverse to
  28    those of Class Members.

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   1                           18.Predominance of Common Issues
   2                  142. There are numerous questions of law and fact common to
   3    Plaintiffs and Class Members that predominate over any question affecting only
   4    individual Class Members, the answers to which will advance resolution of the
   5    litigation as to all Class Members. These common legal and factual issues include:
   6                  a.    whether the HVAC System in the Class Vehicles is defective;
   7                  b.    whether Mercedes knew or should have known about the HVAC
   8    System Defect, and, if yes, how long Mercedes has known of the Defect;
   9                  c.    whether the defective nature of the Class Vehicles constitutes a
  10    material fact reasonable consumers would have considered in deciding whether to
  11    purchase or lease a Class Vehicle;
  12                  d.    whether Mercedes had a duty to disclose the defective nature of
  13    the Class Vehicles to Plaintiffs and Class Members;
  14                  e.    whether Mercedes omitted and failed to disclose material facts
  15    about the Class Vehicles;
  16                  f.    whether Mercedes’s concealment of the true defective nature of
  17    the Class Vehicles induced Plaintiffs and Class Members to act to their detriment
  18    by purchasing or leasing Class Vehicles;
  19                  g.    whether Mercedes’s misrepresentations and omissions about the
  20    true defective nature of the Class Vehicles were likely to mislead or deceive, and
  21    therefore fraudulent, within the meaning of California’s Unfair Competition Law
  22    (UCL);
  23                  h.    whether Mercedes’s misrepresentations and omissions about the
  24    true defective nature of the Class Vehicles were and are unfair within the meaning
  25    of the UCL;
  26                  i.    whether Mercedes represented, through its words and conduct,
  27    that the Class Vehicles had characteristics, uses, or benefits that they did not
  28    actually have;

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   1                  j.    whether Mercedes represented, through its words and conduct,
   2    that the Class Vehicles were of a particular standard, quality, or grade when they
   3    were of another;
   4                  k.    whether Mercedes advertised the Class Vehicles with the intent
   5    not to sell/lease them as advertised;
   6                  l.    whether Mercedes’s misrepresentations and omissions about the
   7    true defective nature of the Class Vehicles were likely to create confusion or
   8    misunderstanding;
   9                  m.    whether Mercedes’s misrepresentations and omissions about the
  10    true defective nature of the Class Vehicles were and are deceptive;
  11                  n.    whether the Class Vehicles were unfit for the ordinary purposes
  12    for which they were used, in violation of the implied warranty of merchantability;
  13                  o.    whether Daimler is liable for the acts, omissions, and violations
  14    described in this Complaint;
  15                  p.    whether MBUSA is liable for the acts, omissions, and violations
  16    described in this Complaint;
  17                  q.    whether Plaintiffs and the other Class Members are entitled to a
  18    declaratory judgment stating that the HVAC Systems in Class Vehicles are
  19    defective and/or not merchantable;
  20                  r.    whether Plaintiffs and the other Class Members are entitled to
  21    equitable relief, including, but not limited to, a preliminary and/or permanent
  22    injunction;
  23                  s.    whether Mercedes should be declared financially responsible for
  24    notifying all Class Members of the problems with the Class Vehicles and for the
  25    costs and expenses of permanently remedying the HVAC System Defect in the
  26    Class Vehicles; and
  27
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   1                    t.    whether Mercedes is obligated to inform Class Members of their
   2    right to seek reimbursement for having paid to diagnose, repair, or replace the
   3    defective HVAC Systems.
   4                                         19.Superiority
   5                    143. Plaintiffs and Class Members have all suffered and will continue
   6    to suffer harm and damages as a result of Mercedes’s unlawful and wrongful
   7    conduct. A class action is superior to other available methods for the fair and
   8    efficient adjudication of this controversy.
   9                    144. Absent a class action, most Class Members would likely find the
  10    cost of litigating their claims prohibitively high and would therefore have no
  11    effective remedy at law. Because of the relatively small size of the individual Class
  12    Members’ claims (compared to the cost of litigation), it is likely that only a few
  13    Class Members could afford to seek legal redress for Mercedes’s misconduct.
  14    Absent a class action, Class Members will continue to incur damages, and
  15    Mercedes’s misconduct will continue without remedy.
  16                    145. Class treatment of common questions of law and fact would also
  17    be a superior method to multiple individual actions or piecemeal litigation in that
  18    class treatment will conserve the resources of the courts and the litigants, and will
  19    promote consistency and efficiency of adjudication.
  20
  21                                 FIRST CAUSE OF ACTION
  22                (Violation of California’s Consumer Legal Remedies Act (“CLRA”),
                                       Cal. Civ. Code § 1750, et seq.)
  23
                        146. Plaintiffs incorporate by reference each allegation set forth in
  24
        the preceding paragraphs.
  25
                        147. Plaintiffs bring this cause of action for themselves and on behalf
  26
        of Class Members.
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   1                 148. Mercedes is a “person” as defined by the CLRA. Cal. Civ. Code
   2    § 1761(c).
   3                 149. Plaintiffs and Class Members are “consumers” within the
   4    meaning of the CLRA. Cal. Civ. Code § 1761(d).
   5                 150. The purchases and leases of Class Vehicles and the warranties
   6    by Plaintiffs and Class Members constitute “transactions” as defined by the CLRA.
   7    Cal. Civ. Code § 1761(e).
   8                 151. The Class Vehicles and the warranties constitute “goods” or
   9    “services” as defined by the CLRA. Cal. Civ. Code §1761(a) and (b).
  10                 152. Plaintiffs and Class Members purchased or leased the Class
  11    Vehicles and the warranties primarily for personal, family, and household purposes
  12    as meant by the CLRA. Cal. Civ. Code § 1761(d).
  13                 153. Mercedes’s misrepresentations, active concealment, failures to
  14    disclose, and omissions regarding the Class Vehicles and the warranties violated the
  15    CLRA in the following ways:
  16                 a.     Mercedes misrepresented that the Class Vehicles and the
  17    warranties had characteristics, benefits, or uses that they did not have (Cal. Civ.
  18    Code § 1770(a)(5));
  19                 b.     Mercedes misrepresented that the Class Vehicles and the
  20    warranties were of a particular standard, quality, or grade when they were of
  21    another (Cal. Civ. Code § 1770(a)(7));
  22                 c.     Mercedes advertised the Class Vehicles and the warranties with
  23    an intent not to sell/lease them as advertised (Cal. Civ. Code § 1770(a)(9));
  24                 d.     Mercedes misrepresented that the Class Vehicles and the
  25    warranties conferred or involved rights, remedies, or obligations that they did not
  26    (Cal. Civ. Code § 1770(a)(14)); and
  27
  28

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   1                 e.     Mercedes misrepresented that the Class Vehicles and the
   2    warranties were supplied in accordance with previous representations when they
   3    were not (Cal. Civ. Code § 1770(a)(16)).
   4                 154. Mercedes’s unfair and deceptive acts or practices occurred
   5    repeatedly in Mercedes’s course of trade or business, were material, were capable
   6    of deceiving a substantial portion of the purchasing public, and as a result, caused
   7    economic harm to purchasers and lessees of the Class Vehicles.
   8                 155. Mercedes knew, by 2008 at the latest, and certainly before the
   9    sale or lease of the Class Vehicles, that the Class Vehicles’ HVAC Systems
  10    suffered from an inherent defect, were defectively designed or manufactured, would
  11    exhibit problems such as mold growth and the emission of foul and noxious odors,
  12    and were not suitable for their intended use.
  13                 156. By 2008 at the latest, Mercedes had exclusive knowledge of
  14    material facts concerning the existence of the HVAC System Defect in its Class
  15    Vehicles. Furthermore, Mercedes actively concealed the Defect from consumers by
  16    denying the existence of the Defect to Class Members who contacted Mercedes
  17    about the moldy smell, failing to cover temporary “fixes” under warranty, and
  18    failing to offer Class Members a permanent solution to the HVAC System Defect.
  19                 157. Mercedes was under a duty to Plaintiffs and Class Members to
  20    disclose the defective nature of the HVAC Systems, as well as the associated costs
  21    that would have to be repeatedly expended in order to temporarily address the
  22    moldy smell caused by the HVAC System Defect, because:
  23                 a.     Mercedes was in a superior position to know the true state of
  24    facts about the HVAC System Defect in the Class Vehicles;
  25                 b.     Plaintiffs and Class Members could not reasonably have been
  26    expected to learn or discover that the Class Vehicles had the HVAC System Defect
  27    until, at the earliest, the manifestation of the Defect; and
  28

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   1                 c.      Mercedes knew that Plaintiffs and Class Members could not
   2    reasonably have been expected to learn or discover the HVAC System Defect prior
   3    to its manifestation.
   4                 158. In failing to disclose the defective nature of the Class Vehicles,
   5    Mercedes knowingly and intentionally concealed material facts and breached its
   6    duty not to do so.
   7                 159. The facts concealed or not disclosed by Mercedes to Plaintiffs
   8    and Class Members are material in that a reasonable consumer would have
   9    considered them to be important in deciding whether or not to purchase or lease a
  10    Class Vehicle. Moreover, a reasonable consumer would consider the HVAC
  11    System Defect to be an undesirable quality, as Plaintiffs and Class Members did.
  12    Had Plaintiffs and other Class Members known that the Class Vehicles had the
  13    HVAC System Defect, they would not have purchased or leased a Class Vehicle, or
  14    would have paid less for it.
  15                 160. Plaintiffs and Class Members are reasonable consumers who did
  16    not expect their Class Vehicles to contain a defective HVAC System. It is a
  17    reasonable and objective consumer expectation for consumers to expect the HVAC
  18    System not to foster the growth of mold and mildew within the System or emit
  19    moldy and noxious odors through the HVAC System vents.
  20                 161. As a result of Mercedes’s misconduct, Plaintiffs and Class
  21    Members have been harmed and have suffered actual damages in that the Class
  22    Vehicles contain defective HVAC Systems and repeatedly manifest mold growth
  23    and emit foul smells due to the HVAC System Defect, causing inconvenience,
  24    creating an uncomfortable and unhealthy environment for vehicle occupants, and
  25    causing Class Members to spend money, even when the Vehicle was still under
  26    warranty, to repeatedly but temporarily address the recurring odors caused by the
  27    Defect.
  28

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   1                  162. As a direct and proximate result of Mercedes’s unfair or
   2    deceptive acts or practices, Plaintiffs and Class Members have suffered and will
   3    continue to suffer actual damages in that they have a Vehicle with a defective
   4    HVAC System and they have experienced and may continue to experience their
   5    Class Vehicles’ HVAC Systems growing mold and emitting noxious odors, for
   6    which there is no permanent fix.
   7                  163. Plaintiffs and the Class are entitled to equitable relief.
   8                  164. Mercedes received proper notice of its alleged violations of the
   9    CLRA pursuant to Cal. Civ. Code § 1782(a), via a letter sent to Mercedes and its
  10    registered service agent on August 17, 2015, on behalf of Plaintiff Manan Bhatt and
  11    all others similarly situated. Mercedes failed to provide the appropriate relief for its
  12    violation of the CLRA within 30 days of the date of the notification letter. The
  13    notice letter is attached hereto as Exhibit C.
  14                  165. Thus, pursuant to Cal. Civ. Code §§ 1780(a), 1780(e), and
  15    1782(a), Plaintiffs seek, in addition to equitable relief, actual damages, restitution,
  16    punitive damages, attorneys’ fees and costs, and any other relief the Court deems
  17    proper.
  18                              SECOND CAUSE OF ACTION
  19          (Violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code
                                           § 17200, et seq.)
  20
                      166. Plaintiffs hereby incorporate by reference the allegations
  21
        contained in the preceding paragraphs of this Complaint.
  22
                      167. Plaintiffs bring this cause of action for themselves and on behalf
  23
        of Class Members.
  24
                      168. California Business & Professions Code § 17200 prohibits acts
  25
        of “unfair competition,” including any “unlawful, unfair or fraudulent business act
  26
        or practice” and “unfair, deceptive, untrue or misleading advertising.” Mercedes
  27
        engaged in conduct that violated each of this statute’s three prongs.
  28

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   1                 169. Mercedes committed an unlawful business act or practice in
   2    violation of Cal. Bus. & Prof. Code § 17200, et seq., by systematically breaching its
   3    warranty obligations and by violating the CLRA and the Song-Beverly Consumer
   4    Warranty Act as alleged above and below.
   5                 170. Mercedes committed unfair business acts and practices in
   6    violation of Cal. Bus. & Prof. Code § 17200, et seq., because the acts and practices
   7    described herein, including but not limited to Mercedes’s failure to provide a
   8    permanent remedy to fix the HVAC System Defect, were immoral, unethical,
   9    oppressive, unscrupulous, unconscionable, and/or substantially injurious to
  10    Plaintiffs and Class Members. Mercedes’s acts and practices were additionally
  11    unfair because the harm to Plaintiffs and Class Members is substantial and is not
  12    outweighed by any countervailing benefits to consumers or competition. Further,
  13    Mercedes’s acts and practices were unfair in that they were contrary to legislatively
  14    declared or public policy.
  15                 171. Mercedes committed fraudulent business acts and practices in
  16    violation of Cal. Bus. & Prof. Code § 17200, et seq., when it concealed the
  17    existence and nature of the HVAC System Defect, while representing in its
  18    marketing, advertising, and other broadly disseminated representations that the
  19    Class Vehicles were “comfortable,” “state of the art,” and designed and
  20    manufactured to be the “most advanced vehicles on the road” when, in fact, they
  21    are not. Mercedes’s representations and active concealment of the Defect are likely
  22    to mislead the public with regard to the true defective nature of the Class Vehicles.
  23                 172. Mercedes’s unfair or deceptive acts or practices occurred
  24    repeatedly in the course of Mercedes’s trade or business, and were likely to mislead
  25    a substantial portion of the purchasing public.
  26                 173. Plaintiffs relied on Mercedes’s material misrepresentations and
  27    nondisclosures, and would not have purchased/leased, or would have paid less for,
  28    the Class Vehicles had they known the truth.

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   1                 174. As a direct and proximate result of Mercedes’s unfair, unlawful,
   2    and deceptive practices, Plaintiffs have lost money.
   3                 175. Plaintiffs and Class Members seek an order enjoining Mercedes
   4    from committing such unlawful, unfair, and fraudulent business practices, and seek
   5    restitution pursuant to Cal. Bus. & Prof. Code § 17203.
   6                               THIRD CAUSE OF ACTION
   7                  (Breach of Express Warranty Pursuant to Song-Beverly
                                    Consumer Warranty Act)
   8
                     176. The Class Vehicles are “consumer goods” under Cal. Civ. Code
   9
        § 1791(a).
  10
                     177. Mercedes is and was at all relevant times a “manufacturer” and
  11
        seller of the Class Vehicles under Cal. Civ. Code § 1791(j); and, with respect to
  12
        leases, is and was at all relevant times a “lessor” of the Class Vehicles under Cal.
  13
        Civ. Code § 1791(i).
  14
                     178. Plaintiffs and Class Members bought or leased Class Vehicles
  15
        designed, manufactured, warranted, marketed to them, and intended to be
  16
        purchased or leased by consumers such as them, by Mercedes.
  17
                     179. Mercedes expressly warranted the Class Vehicles against defects
  18
        including the HVAC System Defect, as described above, within the meaning of
  19
        Cal. Civ. Code §§ 1791.2 and 1793.2.
  20
                     180. As described above, the HVAC System in the Class Vehicles is
  21
        defective. The HVAC System Defect substantially impairs the use, value, and
  22
        safety of the Class Vehicles to reasonable consumers, including Plaintiffs and Class
  23
        Members.
  24
                     181. Mercedes knew of the HVAC System Defect when it expressly
  25
        warranted the Class Vehicles, wrongfully and fraudulently concealed material facts
  26
        regarding the Defect, failed to inform Class Members that the Class Vehicles had
  27
  28

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   1    the Defect, and induced Plaintiffs and Class Members to purchase or lease the Class
   2    Vehicles under false and/or fraudulent pretenses.
   3                 182. Mercedes is obligated, under the terms of its express warranties
   4    and pursuant to Cal. Civ. Code §§ 1793.2 and 1795.4, to repair and/or replace the
   5    defective HVAC System at no cost to Plaintiffs and Class Members.
   6                 183. Mercedes breached its express warranties by supplying the Class
   7    Vehicles to Plaintiffs and Class Members with the HVAC System Defect.
   8                 184. Mercedes breached its express warranties by failing to repair the
   9    Class Vehicles under warranty and by failing to provide to Plaintiffs or Class
  10    Members, as a warranty replacement, a product that conforms to the qualities and
  11    characteristics that it promised when it sold the Class Vehicles to Plaintiffs and
  12    Class Members.
  13                 185. As more fully detailed above, Mercedes was provided with
  14    appropriate notice and has been on notice of the Defect and of its breach of its
  15    express written warranties from various sources, including Plaintiffs.
  16                 186. Plaintiffs have given Mercedes a reasonable opportunity to cure
  17    its failures with respect to its warranties, and Mercedes has failed to do so.
  18                 187. Affording Mercedes any further opportunity to cure their breach
  19    of written warranties is unnecessary and futile here.
  20                 188. Any express warranties promising to repair and/or correct any
  21    defects fail in their essential purposes because the contractual remedy is insufficient
  22    to make Plaintiffs and Class Members whole and because Mercedes has failed
  23    and/or has refused to adequately provide the promised remedies within a reasonable
  24    time.
  25                 189. Accordingly, recovery by the Class Members is not restricted to
  26    any written warranties promising to repair and/or correct defects, and they seek all
  27    remedies as allowed by law.
  28

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   1                 190. Any attempt by Mercedes to limit or disclaim the express
   2    warranties in a manner that would exclude coverage of the HVAC System Defect is
   3    unenforceable and void pursuant to Cal. Civ. Code § 1790.1.
   4                 191. As a direct and proximate result of Mercedes’s breach of its
   5    express warranties, Plaintiffs and Class Members received goods that have
   6    substantially impaired value and have suffered damages in an amount to be
   7    determined at trial.
   8                 192. Pursuant to Cal. Civ. Code § 1794 and 1795.4, Plaintiffs and
   9    Class Members are entitled to incidental, consequential, and other damages and
  10    other legal and equitable relief, as well as costs and attorneys’ fees.
  11                              FOURTH CAUSE OF ACTION
  12                                (Breach of Express Warranty)
  13                 193. The Class Vehicles are and were at all relevant times “goods”
  14    within the meaning of, inter alia, Cal. Com. Code §§ 2105(1) and 10103(a)(8).
  15                 194. Mercedes is and was at all relevant times a “merchant” with
  16    respect to the Class Vehicles, under, inter alia, Cal. Com. Code §§ 2104(1) and
  17    10103(c), and a “seller” of the Class Vehicles, under § 2103(1)(d); and, with
  18    respect to leases, is and was at all relevant times a “lessor” of the Class Vehicles,
  19    under, inter alia, Cal. Com. Code § 10103(a)(16).
  20                 195. Plaintiffs and Class Members are “buyers” or “lessees” within
  21    the meaning of, inter alia, Cal. Com. Code §§ 2103(a) and 10103(a)(14).
  22                 196. Plaintiffs and Class Members bought or leased Class Vehicles
  23    designed, manufactured, warranted, marketed to them, and intended to be
  24    purchased or leased by consumers such as them, by Mercedes.
  25                 197. Mercedes expressly warranted the Class Vehicles against
  26    defects, including the HVAC System Defect, within the meaning of, inter alia, Cal.
  27    Com. Code §§ 2313, 2316, 10210, and 10214.
  28

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   1                 198. As described above, the HVAC System in the Class Vehicles is
   2    defective. The HVAC System Defect substantially impairs the use, value, and
   3    safety of the Class Vehicles to reasonable consumers, including Plaintiffs and Class
   4    Members.
   5                 199. Mercedes knew of the HVAC System Defect when it expressly
   6    warranted the Class Vehicles, wrongfully and fraudulently concealed material facts
   7    regarding the Defect, failed to inform Class Members that the Class Vehicles had
   8    the Defect, and induced Plaintiffs and Class Members to purchase or lease the Class
   9    Vehicles under false and/or fraudulent pretenses.
  10                 200. Mercedes is obligated, under the terms of its express warranties,
  11    to repair and/or replace the HVAC Systems for Plaintiffs and Class Members.
  12                 201. Mercedes breached its express warranties by supplying the Class
  13    Vehicles to Plaintiffs and Class Members with the HVAC System Defect.
  14                 202. Mercedes breached its express warranties by failing to repair the
  15    Class Vehicles and by failing to provide to Plaintiffs or Class Members, as a
  16    warranty replacement, a product that conforms to the qualities and characteristics
  17    that it promised when it sold the Class Vehicles to Plaintiffs and Class Members.
  18                 203. As more fully detailed above, Mercedes was provided with
  19    appropriate notice and has been on notice of the Defect and of its breach of express
  20    written warranties from various sources, including Plaintiffs.
  21                 204. Plaintiffs have given Mercedes a reasonable opportunity to cure
  22    its failures with respect to its warranties, and Mercedes has failed to do so.
  23                 205. Affording Mercedes any further opportunity to cure their breach
  24    of written warranties is unnecessary and futile here.
  25                 206. Any express warranties promising to repair and/or correct any
  26    defects fail in their essential purposes because the contractual remedy is insufficient
  27    to make Class Members whole and because Mercedes has failed and/or have
  28    refused to adequately provide the promised remedies within a reasonable time.

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   1                  207. Accordingly, recovery by the Class Members is not restricted to
   2    any written warranties promising to repair and/or correct defects, and they seek all
   3    remedies as allowed by law.
   4                  208. In its capacity as a warrantor, and by the conduct described
   5    herein, any attempt by Mercedes to limit or disclaim the express warranties in a
   6    manner that would exclude coverage of the HVAC System Defect is
   7    unconscionable as a matter of law because the relevant purchase/lease transactions
   8    were tainted by Mercedes’s concealment of material facts. Thus any such effort by
   9    Mercedes to disclaim, or otherwise limit, its liability for the HVAC System Defect
  10    is null and void.
  11                  209. As a direct and proximate result of Mercedes’s breach of
  12    express warranties, Plaintiffs and Class Members received goods that have
  13    substantially impaired value and have suffered damages in an amount to be
  14    determined at trial.
  15                  210. Plaintiff and Class Members are entitled to incidental,
  16    consequential, and other damages and other legal and equitable relief, as well as
  17    costs and attorneys’ fees.
  18                               FIFTH CAUSE OF ACTION
                    (Breach of Express Warranty – Magnuson-Moss Warranty Act)
  19
                      211. Plaintiffs incorporate by reference each allegation set forth in
  20
        the preceding paragraphs.
  21
                      212. The Class Vehicles are “consumer products” as defined in 15
  22
        U.S.C. § 2301(1).
  23
                      213. Plaintiffs and Class Members are “consumers” as defined in 15
  24
        U.S.C. § 2301(3).
  25
                      214. Mercedes is a “supplier” and “warrantor” as defined in 15
  26
        U.S.C. §§ 2301(4) and (5).
  27
  28

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   1                 215. Mercedes provided Plaintiffs and Class Members with “written
   2    warranties” within the meaning of 15 U.S.C. § 2301(6).
   3                 216. Mercedes has breached its express warranties by refusing to
   4    honor the express warranty to replace or repair, free of charge, any defective
   5    vehicle component, including the HVAC System Defect.
   6                 217. At the time Class Vehicles were sold or leased, Mercedes knew
   7    that they possessed the HVAC System Defect and offered an express warranty with
   8    no intention of honoring said warranty with respect to the known Defect.
   9                 218. Additionally, pursuant to 15 U.S.C. § 2304(d)(1), “the warrantor
  10    may not assess the consumer for any costs the warrantor or his representatives incur
  11    in connection with the required remedy of a warranted product . . . [I]f any
  12    incidental expenses are incurred because the remedy is not made within a
  13    reasonable time or because the warrantor imposed an unreasonable duty upon the
  14    consumer as a condition of securing remedy, then the consumer shall be entitled to
  15    recover reasonable incidental expenses which are so incurred in any action against
  16    the warrantor.”
  17                 219. At no time has Mercedes offered a permanent or adequate repair
  18    or replacement of the HVAC System that would permanently prevent the moldy
  19    odor. Despite repeated demands by Plaintiffs and Class Members that Mercedes
  20    pay the costs and incidental expenses associated with temporarily “fixing” the
  21    HVAC System, Mercedes has refused to do so. Mercedes’s refusal to provide a
  22    permanent repair or replacement for the HVAC System Defect and to pay for the
  23    temporary “fixes” violates 15 U.S.C. § 2304(d)(1).
  24                 220. Mercedes was afforded a reasonable opportunity to cure its
  25    breach of the express warranty, but failed to do so.
  26                 221. Under 15 U.S.C. § 2310(e), notice of breach of warranty need
  27    not be provided until after Plaintiffs have been appointed Class Representatives;
  28    nevertheless Mercedes had been notified, as alleged above.

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   1                 222. As a direct and proximate result of Mercedes’s breach of its
   2    express written warranties, Plaintiffs and Class Members have been damaged in an
   3    amount to be proven at trial.
   4                                SIXTH CAUSE OF ACTION
   5         (Breach of Implied Warranty Under Song-Beverly Consumer Warranty Act)
   6                 223. Plaintiffs incorporate by reference each allegation set forth in
   7    the preceding paragraphs.
   8                 224. Mercedes’s Class Vehicles are “consumer goods” within the
   9    meaning of Cal. Civ. Code § 1791(a).
  10                 225. Mercedes is a “manufacturer” within the meaning of Cal. Civ.
  11    Code § 1791(j).
  12                 226. Plaintiffs and Class Members who purchased or leased their
  13    Class Vehicles within the State of California are “buyers” and “lessees” within the
  14    meaning of Cal. Civ. Code §§ 1791(b) and (h).
  15                 227. Mercedes impliedly warranted to Plaintiffs and Class Members
  16    that its Vehicles were “merchantable” within the meaning of Cal. Civ. Code
  17    §§ 1791.1(a) and 1792.
  18                 228. Mercedes impliedly warranted to Plaintiffs and Class Members
  19    that it would repair or replace any defective products, including the defective
  20    HVAC System that produces the moldy odor.
  21                 229. The propensity of the HVAC System Defect to create a noxious
  22    and foul moldy odor renders the Class Vehicles to not be of the quality that a buyer
  23    or lessee would reasonably expect, and therefore not merchantable.
  24                 230. The Class Vehicles do not conform to the promises or
  25    affirmations of fact made by Mercedes in its promotional materials and vehicle
  26    owner manuals in that the HVAC System Defect creates an environment in the
  27    Class Vehicles’ cabin that is neither “comfortable” nor the product of “state-of-the-
  28    art engineering.”

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   1                 231. In violation of Cal. Civ. Code § 1791.1(a), Mercedes breached
   2    its implied warranty by selling/leasing Class Vehicles that were defective and
   3    refusing to permanently replace and/or repair the defective HVAC Systems.
   4                 232. The HVAC System Defect has deprived Plaintiffs and Class
   5    Members of the benefit of their bargain, and have caused the Class Vehicles to
   6    depreciate in value.
   7                 233. Any attempt by Mercedes to limit or disclaim the express
   8    warranties in a manner that would exclude coverage of the HVAC System Defect is
   9    unenforceable and void pursuant to Cal. Civ. Code §§ 1790.1, 1792.3, and 1793.
  10                 234. As a result of Mercedes’s breach of its implied warranties,
  11    Plaintiffs and Class Members have been damaged in an amount to be proven at trial
  12    and are entitled to incidental, consequential, and other damages and other legal and
  13    equitable relief, as well as costs and attorneys’ fees, pursuant to Cal. Civ. Code §§
  14    1794 and 1795.4.
  15                             SEVENTH CAUSE OF ACTION
  16                                (Breach of Implied Warranty)
  17                 235. Plaintiffs incorporate by reference each allegation set forth in
  18    the preceding paragraphs.
  19                 236. The Class Vehicles are and were at all relevant times “goods”
  20    within the meaning of, inter alia, Cal. Com. Code §§ 2105(1) and 10103(a)(8).
  21                 237. Mercedes is and was at all relevant times a “merchant” with
  22    respect to the Class Vehicles, under, inter alia, Cal. Com. Code §§ 2104(1) and
  23    10103(c), and a “seller” of the Class Vehicles, under § 2103(1)(d); and, with
  24    respect to leases, is and was at all relevant times a “lessor” of the Class Vehicles,
  25    under, inter alia, Cal. Com. Code § 10103(a)(16).
  26                 238. Plaintiffs and Class Members are “buyers” or “lessees” within
  27    the meaning of, inter alia, Cal. Com. Code §§ 2103(a) and 10103(a)(14).
  28

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   1                  239. When it sold or leased its Class Vehicles, Mercedes extended an
   2    implied warranty to Class Members that the subject Vehicles were merchantable
   3    and fit for the ordinary purpose for which they were sold or leased, pursuant to Cal.
   4    Com. Code §§ 2314, 10212, and 10214.
   5                  240. Plaintiff Blasco and other Class Members who purchased or
   6    leased a Class Vehicle directly from Mercedes are entitled to the benefit of their
   7    bargain: a Vehicle with a nondefective HVAC system that does not emit moldy air.
   8                  241. Likewise, Plaintiff Bhatt and other Class Members who
   9    purchased or leased a Mercedes Certified Pre-Owned Class Vehicle are entitled to
  10    the benefit of their bargain: a vehicle with a nondefective HVAC system that does
  11    not emit moldy air.
  12                  242. Class Members who purchased Certified Pre-Owned Class
  13    Vehicles are the intended ultimate consumers of the Class Vehicles, and therefore
  14    are third-party beneficiaries for the purposes of their implied warranty claims.
  15                  243. Mercedes breached this implied warranty in that its Class
  16    Vehicles are (1) not fit for ordinary use, and (2) not of a merchantable quality.
  17                  244. Had the HVAC System Defect that existed at the time of sale
  18    been known, the Class Vehicles could not have been sold or leased, or could not
  19    have been sold or leased at the same price.
  20                  245. As a direct and proximate result of Mercedes’s breach of the
  21    implied warranty of merchantability, Plaintiffs and Class Members have been
  22    damaged in an amount to be proven at trial.
  23                              EIGHTH CAUSE OF ACTION
  24                (Breach of Implied Warranty – Magnuson-Moss Warranty Act)
  25                  246. Plaintiffs incorporate by reference each allegation set forth in
  26    the preceding paragraphs.
  27                  247. Plaintiffs and Class Members are “consumers” as defined in 15
  28    U.S.C. § 2301(3).

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   1                 248. Defendant Mercedes is a “supplier” and “warrantor” as defined
   2    in 15 U.S.C. §§ 2301(4) and (5).
   3                 249. The subject Class Vehicles are “consumer products” as defined
   4    in 15 U.S.C. § 2301(1).
   5                 250. Mercedes extended an implied warranty to Plaintiffs and Class
   6    Members by operation of 15 U.S.C. § 2301(7), and this implied warranty covers
   7    defects in its Class Vehicles and its Class Vehicles’ HVAC Systems.
   8                 251. Mercedes breached this implied warranty by selling/leasing its
   9    Class Vehicles with defective HVAC Systems that were neither merchantable nor
  10    fit for their intended purpose.
  11                 252. Under 15 U.S.C. § 2310(e), notice of breach of warranty need
  12    not be provided until after Plaintiffs have been appointed Class Representatives;
  13    nevertheless Mercedes was notified of its breach of warranty, as alleged above.
  14                 253. As a direct and proximate result of Mercedes’s breach of the
  15    implied warranty under the Magnuson-Moss Act, Plaintiffs, and the Class, have
  16    been damaged in an amount to be proven at trial.
  17                                NINTH CAUSE OF ACTION
  18                                      (Fraud by Concealment)
  19                 254. Plaintiffs incorporate by reference each allegation set forth in
  20    the preceding paragraphs.
  21                 255. Plaintiffs bring this cause of action for themselves and on behalf
  22    of Class Members.
  23                 256. Mercedes concealed and suppressed material facts concerning
  24    the quality of the Class Vehicles, and the HVAC Systems in the Class Vehicles.
  25                 257. Mercedes concealed and suppressed material facts concerning
  26    the serious Defect causing Class Vehicles to emit strong foul odors. Upon
  27    information and belief, the Defect lies in the evaporator and evaporator box deep
  28    within the dashboards of the Class Vehicles. Mercedes knew that Plaintiffs and

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   1    Class Members would not be able to inspect or otherwise detect the Defect prior to
   2    purchasing or leasing the Vehicles. Mercedes furthered and relied upon this lack of
   3    disclosure to promote payments for temporary “fixes” and in some cases accused
   4    Plaintiffs and Class Members of causing the problem themselves – all the while
   5    concealing the true nature of cause and Defect from Plaintiffs and Class Members.
   6    Mercedes further denied the very existence the Defect and the propensity of foul
   7    odors when Plaintiffs and Class Members complained of the Defect.
   8                 258. Mercedes concealed and suppressed material facts that point to
   9    the nature of the Defect being a faulty evaporator design, a $400 to $800 or more
  10    part requiring extensive labor and parts to replace and instead pushed temporary
  11    “fixes” like filter changes and cleanings.
  12                 259. Mercedes did so in order to boost confidence in its vehicles and
  13    falsely assure purchasers and lessees of Mercedes vehicles, that the Class Vehicles
  14    were world class, comfortable, warranted, and reliable vehicles and concealed the
  15    information in order to prevent harm to Mercedes and its products’ reputations in
  16    the marketplace and to prevent consumers from learning of the defective nature of
  17    the Class Vehicles prior to their purchase or lease. These false representations and
  18    omissions were material to consumers, both because they concerned the quality of
  19    the Class Vehicles and because the representations and omissions played a
  20    significant role in their decisions to purchase or lease the Class Vehicles.
  21                 260. Mercedes had a duty to disclose the HVAC System Defect in the
  22    Class Vehicles because it was known and/or accessible only to Mercedes; Mercedes
  23    had superior knowledge and access to the facts; and Mercedes knew the facts were
  24    not known to or reasonably discoverable by Plaintiffs and Class Members.
  25    Mercedes also had a duty to disclose because it made many general affirmative
  26    representations about the quality, warranty, and lack of defects in the Class
  27    Vehicles as set forth above, which were misleading, deceptive, and/or incomplete
  28    without the disclosure of the additional facts set forth above regarding their actual

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   1    quality, comfort, and usability. Even when faced with complaints regarding the
   2    Defect, Mercedes misled and concealed the true cause of the symptoms complained
   3    of. As a result, Class Members were misled as to the true condition of the Class
   4    Vehicles once at the time of purchase or lease and again when the Defect was
   5    complained of to Mercedes. The omitted and concealed facts were material because
   6    they directly impact the value, appeal, and usability of the Class Vehicles purchased
   7    or leased by Plaintiffs and Class Members. Whether a manufacturer’s products are
   8    as stated by the manufacturer, backed by the manufacturer, and usable for the
   9    purpose for which they were purchased/leased, are material concerns to a consumer.
  10                 261. Mercedes actively concealed and/or suppressed these material
  11    facts, in whole or in part, to protect its reputation, sustain its marketing strategy,
  12    and avoid recalls that would hurt the brand’s image and cost money, and it did so at
  13    the expense of Plaintiffs and Class Members.
  14                 262. On information and belief, Mercedes has still not made full and
  15    adequate disclosure and continues to defraud Plaintiffs and Class Members and
  16    conceal material information regarding defects that exist in Mercedes vehicles.
  17                 263. Plaintiffs and Class Members were unaware of these omitted
  18    material facts and would not have acted as they did if they had known of the
  19    concealed and/or suppressed facts, in that they would not have purchased or leased
  20    cars designed and manufactured by Mercedes or chosen different models not known
  21    to emit foul odors. Plaintiffs and Class Members’ actions were justified. Mercedes
  22    was in exclusive control of the material facts and such facts were not known to the
  23    public, Plaintiffs, or Class Members.
  24                 264. Because of the concealment and/or suppression of the facts,
  25    Plaintiffs and Class Members sustained damages because they negotiated and paid
  26    value for the Class Vehicles not considerate of the HVAC System Defect that
  27    Mercedes failed to disclose, and they paid for temporary repairs and parts to
  28    attempt to remedy the Defect. Had they been aware of the concealed Defect that

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   1    existed in the Class Vehicles, Plaintiffs and Class Members would have paid less
   2    for their Vehicles or would not have purchased or leased them at all.
   3                 265. Accordingly, Mercedes is liable to Plaintiffs and Class Members
   4    for damages in an amount to be proven at trial.
   5                 266. Mercedes’s acts were done maliciously, oppressively,
   6    deliberately, with intent to defraud, and in reckless disregard of Plaintiffs’ and
   7    Class Members’ rights and well-being to enrich Mercedes. Mercedes’s conduct
   8    warrants an assessment of punitive damages in an amount sufficient to deter such
   9    conduct in the future, which amount is to be determined according to proof.
  10                                TENTH CAUSE OF ACTION
  11                                     (Unjust Enrichment)
  12                 267. Plaintiffs incorporate by reference each allegation set forth in
  13    the preceding paragraphs.
  14                 268. Mercedes has been unjustly enriched by Plaintiffs and Class
  15    Members purchasing/leasing Class Vehicles from Mercedes and purchasing
  16    replacement parts and services from Mercedes that Plaintiffs and Class Members
  17    would not have purchased/leased but for Mercedes’s misconduct alleged above
  18    with respect to the HVAC System Defect.
  19                 269. Plaintiffs and Class Members unknowingly conferred a benefit
  20    on Mercedes of which Mercedes had knowledge, since Mercedes was aware of the
  21    defective nature of the Class Vehicles’ HVAC Systems and the resultant moldy
  22    odor problems, but failed to disclose this knowledge and misled Plaintiffs and Class
  23    Members regarding the nature and quality of the Class Vehicles while profiting
  24    from this deception.
  25                 270. The circumstances are such that it would be inequitable,
  26    unconscionable, and unjust to permit Mercedes to retain the benefit of profits that it
  27    unfairly obtained from Plaintiffs and Class Members. These profits include the
  28    premium price Plaintiffs and the Class paid for the Class Vehicles and the cost of

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   1    the parts and services bought from Mercedes to temporarily alleviate the moldy
   2    odor emitted by the HVAC System.
   3                 271. Plaintiffs and Class Members, having been damaged by
   4    Mercedes’s conduct, are entitled to recover or recoup damages as a result of the
   5    unjust enrichment of Mercedes to their detriment.
   6                                 20.RELIEF REQUESTED
   7                 272. Plaintiffs, on behalf of themselves, and all others similarly
   8    situated, request the Court to enter judgment against Mercedes, as follows:
   9                 a.     an order certifying the proposed Class, designating Plaintiffs as
  10    named representatives of the Class, and designating the undersigned as Class
  11    Counsel;
  12                 b.     a declaration that the HVAC Systems in the Class Vehicles are
  13    defective;
  14                 c.     a declaration that Mercedes is financially responsible for
  15    notifying all Class Members about the defective nature of the Class Vehicles;
  16                 d.     an order enjoining Mercedes from further deceptive distribution,
  17    sales, and lease practices with respect to the Class Vehicles, and to permanently
  18    repair the Class Vehicles so that they no longer possess the HVAC System Defect;
  19                 e.     an award to Plaintiffs and Class Members of compensatory,
  20    exemplary, and statutory damages, including interest, in an amount to be proven at
  21    trial;
  22                 f.     a declaration that Mercedes must disgorge, for the benefit of
  23    Plaintiffs and Class Members, all or part of the ill-gotten profits it received from the
  24    sale or lease of the Class Vehicles, or make full restitution to Plaintiffs and Class
  25    Members;
  26                 g.     an award of attorneys’ fees and costs, under Cal. Code Civ.
  27    Proc. § 1021.5, and as otherwise allowed by law;
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   1                 h.     an award of pre-judgment and post-judgment interest, as
   2    provided by law;
   3                 i.     leave to amend this Complaint to conform to the evidence
   4    produced at trial; and
   5                 j.     such other relief as may be appropriate under the circumstances.
   6                             21.DEMAND FOR JURY TRIAL
   7                 273. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs
   8    demand a trial by jury of any and all issues in this action so triable of right.
   9    Dated: July 14, 2017                   Respectfully submitted,
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  11
  12                                           By:
                                                      Jonathan D. Selbin
  13
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  27
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  28                                           Class

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